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                   EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION


ALEXANDER RICE, Individually and On
Behalf of All Others Similarly Situated,

                       Plaintiff,                  Consol. Case No. 3:17-cv-00059-REP

               v.

GENWORTH FINANCIAL
INCORPORATED, THOMAS J.
MCINERNEY, JAMES S. RIEPE, WILLIAM
H. BOLINDER, G. KENT CONRAD,
MELINA E. HIGGINS, DAVID M.
MOFFETT, THOMAS E. MOLONEY,
JAMES A. PARKE, DEBRA J. PERRY, and
ROBERT P. RESTREPO JR.,

                       Defendants.


                    STIPULATION OF CLASS ACTION SETTLEMENT

       This Stipulation of Settlement dated as of April 4, 2018 (the “Stipulation”) is made and

entered into the above-captioned action by and among: (i) Lead Plaintiffs Alexander Rice and

Brian James (on behalf of themselves and each of the Settlement Class Members (as defined in

paragraph 30(r) below)), by and through their counsel of record; and (ii) Defendants (as defined

in paragraph 30(c) below) by and through their counsel of record (collectively, the “Parties”).

The Stipulation is intended by the Parties to fully, finally, and forever resolve, discharge, settle

and dismiss with prejudice the Released Claims (as defined in paragraph 30(n) below), upon and

subject to the terms and conditions hereof.

 I.    RECITALS

       WHEREAS:

       1.      On October 23, 2016, Genworth Financial, Inc. (“Genworth” or the “Company”)
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and China Oceanwide Holdings Group Co., Ltd. (“China Oceanwide”) jointly announced that

they had entered into a definitive Agreement and Plan of Merger (the “Merger Agreement”),

pursuant to which Asia Pacific Global Capital Company, Ltd. (“Parent”), a limited liability

company incorporated in the People’s Republic of China and affiliate of China Oceanwide, will

acquire all of the issued and outstanding shares of Genworth common stock (the “Merger”) for

$5.43 per share in cash (the “Merger Consideration”).

        2.    In connection with the Merger Agreement, on December 21, 2016, Genworth

filed a Schedule 14A Preliminary Proxy Statement (the “Preliminary Proxy Statement”) with the

U.S. Securities and Exchange Commission (“SEC”), and on January 25, 2017, Genworth filed a

Schedule 14A Definitive Proxy Statement (the “Proxy Statement”) with the SEC. In the Proxy

Statement, Genworth’s board of directors (the “Board”) recommended that Genworth

shareholders vote in favor of the Merger at a special shareholder meeting scheduled for March 7,

2017.

        3.    Following the announcement of the Merger and filing of the Preliminary Proxy

Statement, Plaintiff Rice in the above-captioned action as well as plaintiffs in other actions

(together, the “Actions” as defined in paragraph 30(a) below)) filed suit naming as defendants

Genworth and the individual members of the Board (collectively, “Defendants” as defined in

paragraph 30(c) below), and alleging that the Defendants violated Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”) and the SEC’s rules and regulations

promulgated under Section 14(a). The complaints allege that Defendants violated Section 14(a)

by recommending the Merger with the Proxy Statement containing false and/or misleading

information. The Actions were each commenced as putative class actions on behalf of a class of

all of Genworth’s common shareholders other than Defendants and their affiliates.

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       4.     On February 2, 2017, Plaintiff Rice (joined by Plaintiff James) filed a Motion for

Preliminary Injunction (the “Rice PI Motion”) in which Plaintiff Rice sought to enjoin the

shareholder vote on the Merger unless and until certain supplemental disclosures were made to

Genworth’s shareholders that corrected the alleged deficiencies identified in the Proxy

Statement. On the same date, the Court held a conference call with Defendants’ counsel and

counsel for Plaintiff Rice regarding the Rice PI Motion, and, on February 6, 2017, the Court

scheduled a hearing on the Rice PI Motion for February 22, 2017.

       5.     On February 6, 2017, counsel for Plaintiffs Rice and James sent a demand letter to

Defendants identifying certain misleading disclosures in the Proxy Statement that they sought to

have Defendants correct.

       6.     On February 10, 2017, Defendants filed their opposition to the Rice Pl Motion.

On the same date, Plaintiff Rosenfeld Family Trust filed a motion for expedited proceedings and

a preliminary injunction seeking to enjoin the March 7, 2017 Genworth stockholder vote in an

action then pending in the United States District Court for the District of Delaware (and later

transferred to this Court), Rosenfeld Family Trust v. Genworth Financial, Inc., No. 3:17-cv-

00156-REP (the “Rosenfeld Trust PI Motion”). On February 13, 2017, the United States District

Court for the District of Delaware scheduled an expedited hearing for the Rosenfeld Trust PI

Motion for February 24, 2017, which the District Court vacated on February 14, 2017.

Defendants moved to transfer the Rosenfeld Family Trust action to this Court, which motion was

granted on February 22, 2017. After transfer, the Court scheduled an expedited hearing for the

Rosenfeld Trust PI Motion for March 1, 2017.

       7.     On February 14, 2017, the Court held a conference call with counsel for

Defendants and counsel for Plaintiffs Rice, James, and Ratliff to discuss the Rice PI Motion,

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after which the Court referred the matter to Magistrate Judge David J. Novak for settlement

discussions. Thereafter counsel contacted Magistrate Judge Novak and agreed to a schedule for

settlement negotiations prior to the March 7, 2017 shareholder vote.

       8.      On February 15, 2017, Plaintiff Rice published notice of the Lead Plaintiff

deadline pursuant to the Private Securities Litigation Reform Act (“PSLRA”) via PR Newswire,

which set a deadline for Genworth shareholders to move to be appointed lead plaintiff of the

Actions (as defined in paragraph 30(a) below).

       9.      On February 16, 2017, Plaintiff Ratliff sent a demand letter to counsel for

Defendants outlining supplemental disclosure that he contended was necessary to prevent the

Proxy Statement from being materially misleading.

       10.     On February 16, 2017, counsel for Defendants sent a letter to counsel for Rice,

James, and Ratliff outlining what supplemental disclosure Genworth was prepared to make in

order to resolve the Rice PI Motion.

       11.     On February 17, 2017, Plaintiffs Rice and James filed an emergency motion to

consolidate the Virginia Actions and to appoint Faruqi & Faruqi, LLP as interim class counsel,

which motion, after briefing, was granted for purposes of arguing the Rice PI Motion.

       12.     On February 21, 2017, following discussions and negotiations, the parties to the

Virginia Actions (as defined in paragraph 30(t) (below) reached an agreement in principle for

Genworth to issue certain additional disclosures prior to the March 7, 2017 shareholder vote,

which disclosures would moot the grounds for the Rice PI Motion.

       13.     At the February 22, 2017 hearing, the parties informed the Court of the agreement

in principle, Plaintiffs Rice and James withdrew the Rice PI Motion, and the Court entered an

order consolidating the Virginia Actions (as defined in paragraph 30(t) below) under No. 3:17-

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cv-00059-REP, denying the Rice PI Motion as moot, and directing the parties to submit a

schedule for the appointment of lead plaintiff and lead counsel in accordance with the PSLRA

(which schedule was filed with the Court on March 6, 2017).

       14.     On February 24, 2017, Genworth filed the supplemental disclosures negotiated

with Plaintiffs James, Rice, and Ratliff with the SEC on Form 8-K and disseminated them to

Genworth shareholders.

       15.     On February 27, 2017, following discussions and negotiations, counsel for

Defendants and counsel for plaintiff in the Rosenfeld Trust Action informed the Court that the

Rosenfeld Trust PI Motion would be mooted by proposed supplemental disclosures Genworth

agreed to file with the SEC, which disclosures were filed on Form 8-K and disseminated to

Genworth shareholders on February 28, 2017 (the disclosures issued on February 24 and 28,

2017 are referred to collectively as the “Supplemental Disclosures”).

       16.     On March 7, 2017, the Court consolidated the Delaware Actions (as defined in

paragraph 30(d) below) with the Virginia Actions (as defined in paragraph 30(t) below) under

No. 3:17-CV-0059-REP.

       17.     On March 7, 2017, the Genworth shareholders voted at the previously scheduled

meeting in favor of the Merger.

       18.     On April 17, 2017, Plaintiffs Rice and James moved for appointment as Lead

Plaintiff as the James/Rice Investor Group. Thereafter, after extensive briefing, conferences with

the Court (including on May 16, 2017), and oral argument (on July 5, 2017), followed by

additional supplemental briefing, on August 25, 2017, the Court appointed Plaintiffs Rice and

James as Lead Plaintiffs (“Lead Plaintiffs” as defined in paragraph 30(i) below) and appointed

the law firms of Faruqi & Faruqi, LLP and Kahn Swick & Foti, LLC as Co-Lead Counsel and

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MeyerGoergen PC as Liaison Counsel (together, “Plaintiffs’ Counsel,” as defined in paragraph

30(m) below) of the consolidated Actions.

       19.     After arm’s-length negotiations, the Parties entered into a Memorandum of

Understanding (“MOU”), dated November 1, 2017, which reflected an agreement in principle to

settle the Actions (as defined in paragraph 30(a) below) on the terms and subject to the

conditions set forth therein, including certain discovery (“Confirmatory Discovery”), which

included the production of documents and the taking of depositions, to confirm the fairness,

adequacy and reasonableness of the terms of the settlement set forth in the MOU.

       20.     During the months of November and December 2017, pursuant to the MOU, the

Parties negotiated the terms of a protective order to govern the production of confidential

information for Confirmatory Discovery purposes and engaged in Confirmatory Discovery,

including depositions of two Genworth directors.

       21.     During Confirmatory Discovery, a dispute arose regarding the discoverability of

certain documents and redactions made thereto.

       22.     On January 5, 2018, Plaintiffs’ Counsel informed the Court of the discovery

dispute.

       23.     On March 16, 2018, following briefing and an in camera review of the documents

in dispute by this Court, the Court entered an order resolving the discovery dispute and, on

March 19, 2018, Defendants produced certain additional documents.

       24.     Upon reviewing the additional documents, Plaintiffs’ Counsel determined that

Confirmatory Discovery had been completed and advised Defendants that they continued to

believe that the terms of the Settlement were fair, reasonable and adequate.




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       25.    On March 21, 2018, the Court held a telephonic hearing with the Parties, at which

the schedule for proceeding with the Settlement was agreed and was entered by the Court on

March 22, 2018.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and

among the Parties hereto:

 II.   DEFINITIONS

       30.    As used in this Stipulation, the following terms shall have the following

meanings:

              a.      “Actions” means, collectively, the Virginia Actions and the Delaware

       Actions.

              b.      “Court” means the United States District Court for the Eastern District of

       Virginia;

              c.      “Defendants” means, individually and collectively, Thomas J. McInerney,

       James S. Riepe, William H. Bolinder, G. Kent Conrad, Melina E. Higgins, David M.

       Moffett, Thomas E. Moloney, James A. Parke, Debra J. Perry, Robert P. Restrepo Jr., and

       Genworth;

              d.      “Delaware Actions” means Rosenfeld Family Trust v. Genworth

       Financial, Inc. et al., No. 3:17-cv-00156-REP (filed January 25, 2017) (the “Rosenfeld

       Trust Action”), and Chopp v. Genworth Financial, Inc., et al., No. 3:17-cv-00157-REP

       (filed February 6, 2017), which were transferred to the United States District Court for

       the Eastern District of Virginia from the United States District Court for the District of

       Delaware and, on March 7, 2017, consolidated with the Virginia Actions under No. 3:17-

       cv-00059-REP.


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             e.      “Effective Date of the Settlement” means the earliest business day after

      the occurrence of all of the events specified in paragraph 41;

             f.      “Final Approval” means that the Court has entered a Final Judgment (as

      defined in paragraph 30(g) below) certifying the Settlement Class (defined in paragraph

      30(q) below), approving the Settlement (defined in paragraph 30(p) below), dismissing

      the Actions with prejudice and with each of the Parties to bear its own costs (except as set

      forth in paragraphs 44-46 below), and providing for the releases set forth in paragraphs

      35-38 below and the injunction set forth in paragraph 35 below, and that such Final

      Judgment is final and no longer subject to further appeal or review, whether by

      affirmance or exhaustion of any possible appeal or review, lapse of time, or otherwise.

             g.      “Final Judgment” means the proposed Order and Final Judgment

      substantially in the form of Exhibit D attached hereto or as modified pursuant to

      agreement of the Parties;

             h.      “Genworth” means Genworth Financial, Inc.;

             i.      “Lead Plaintiffs” means Alexander Rice and Brian James;

             j.      “Notice” means the Notice of Pendency and Proposed Settlement of Class

      Action that is to be sent to Settlement Class Members (as defined in paragraph 30(r))

      substantially in the form of Exhibit C attached hereto or as modified pursuant to

      agreement of the Parties or order of the Court;

             k.      “Order of Preliminary Approval” means the proposed Order Approving

      the Notice of Pendency and Proposed Settlement of Class Action substantially in the

      form of the proposed order attached hereto as Exhibit B or as modified pursuant to

      agreement of the Parties or order of the Court;

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                 l.   “Parties” means collectively, each of the Defendants, and Lead Plaintiffs,

       on behalf of themselves and the Settlement Class Members (as defined in paragraph

       30(l));

                 m.   “Plaintiffs’ Counsel” means Co-Lead Counsel Faruqi & Faruqi, LLP (685

       Third Avenue, 26th Floor, New York, NY 10017) and Kahn Swick & Foti, LLC (206

       Covington Street, Madisonville, Louisiana 70447); Liaison Counsel MeyerGoergen PC

       (1802 Bayberry Court, Suite 200, Richmond, Virginia 23226); and their partners,

       officers, of counsel, principals, associates, and employees;

                 n.   “Released Claims” means the claims that were or could have been asserted

       under Section 14(a) of the Exchange Act by Plaintiffs in the Actions in their capacity as

       Genworth common stock shareholders against any of the Released Persons, in any court,

       tribunal, forum or proceeding based upon, arising out of, relating in any way to, or

       involving, directly or indirectly, the contents of the Proxy Statement; provided, however,

       for the avoidance of doubt, that the Released Claims shall not include the right to enforce

       the Settlement or any claims or rights of any Defendant against its insurers or insurers’

       successors or assignees; provided further, for the avoidance of doubt, that the Released

       Claims shall not include, and the Settlement shall not be construed to in any way settle,

       compromise, or otherwise affect, any derivative claims on behalf of and/or against

       Genworth, its current or former directors, or its current or former officers (specifically

       including, but not limited to, the derivative claims raised in In re Genworth Financial,

       Inc. Consolidated Derivative Litigation, C.A. No. 11901-VCS (Del. Ch.) and any

       other currently pending derivative suit on behalf of and/or against Genworth, its current

       or former directors, or its current or former officers), except derivative claims (if any)

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       under Section 14(a) of the Exchange Act relating to the Proxy Statement (which, to the

       best of the Parties’ knowledge, information and belief, are not currently pending or

       asserted in any of the Actions or in any other action or proceeding);

              o.      “Released Persons” means every entity or natural person named as a

       defendant in the complaint or amended complaint in any of the Actions, and each of their

       respective past, present, or future family members, spouses, heirs, trusts, trustees,

       executors, estates, administrators, beneficiaries, distributees, legatees, devisees,

       foundations, agents, employees, fiduciaries, partners, control persons, partnerships,

       general or limited partners or partnerships, joint ventures, member firms, limited liability

       companies, corporations, parents, subsidiaries, divisions, affiliates, associated entities,

       stockholders, principals, officers, managers, directors, managing directors, members,

       managing members, managing agents, predecessors, predecessors-in-interest, successors,

       successors-in-interest, assigns, financial or investment advisors, advisors, consultants,

       investment bankers, entities providing any fairness opinion, underwriters, brokers,

       dealers, lenders, commercial bankers, attorneys, personal or legal representatives,

       accountants, insurers, co-insurers, reinsurers, and associates, whether or not such persons

       and entities were named or appeared in the Actions;

              p.      “Settlement” means the settlement contemplated by this Stipulation;

              q.      “Settlement Class” means a non-opt-out class, certified for settlement

       purposes only, pursuant to Fed. R. Civ. P. 23, consisting of any and all record holders and

       beneficial owners of common stock of Genworth who held or owned such stock at any

       time during the period beginning on and including October 23, 2016, through and

       including the date of consummation of the Merger or, if the Merger is not consummated

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        for any reason, March 7, 2017 (the “Class Period”), including any and all of their

        respective successors-in-interest, successors, predecessors-in-interest, predecessors,

        representatives, trustees, executors, administrators, estates, heirs, beneficiaries, legatees,

        devisees, assigns and transferees, immediate and remote, and any other person or entity

        acting for or on behalf of, or claiming under, any of the foregoing; provided that the

        Settlement Class shall not include Defendants and their immediate family members, any

        entity in which any Defendant has a controlling interest, and any successors-in-interest

        thereto; and provided further that certification of the Settlement Class is for settlement

        purposes only, is dependent on Final Approval, and shall be null and void in the event

        that Final Approval is not obtained;

               r.      “Settlement Class Members” means any persons who, or entities that, fall

        within the definition of the Settlement Class as set forth above in paragraph 30(q);

               s.      “Settlement Hearing” means the final hearing to be held by the Court to

        determine whether the Settlement (defined in paragraph 30(p)) should be approved and

        the Final Judgment (defined in paragraph 30(h)) should be entered;

               t.      “Virginia Actions” means (1) Rice v. Genworth Fin., Inc., No. 3:17-cv-

        00059-REP (E.D. Va.) (filed January 23, 2017); (2) James v. Genworth Fin., Inc., No.

        3:17-cv-0078-REP (E.D. Va.) (filed January 25, 2017); and (3) Ratliff v. Genworth Fin.,

        Inc., No. 3:17-cv-00132-REP (E.D. Va.) (filed February 10, 2017), which were

        consolidated on February 22, 2017 under No. 3:17-cv-00059-REP.

 III.   TERMS OF THE SETTLEMENT

        31.    In consideration for the full and final settlement and release of all Released

 Claims by Lead Plaintiffs and the Settlement Class, the dismissal with prejudice of the Actions,


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 and the other consideration set forth herein, and subject to the conditions set forth herein,

 Genworth made the Supplemental Disclosures to Genworth shareholders through two Current

 Reports on Form 8-Ks filed with the SEC on February 24, 2017 and February 28, 2017. Without

 admitting any wrongdoing, Defendants acknowledge that Genworth’s decision to make the

 Supplemental Disclosures was the result of the pendency of the Actions, Defendants’ desire to

 resolve the pending PI Motions and the Actions, and negotiations between counsel for

 Defendants and counsel for Plaintiffs. Lead Plaintiffs and Plaintiffs’ Counsel believe that, with

 the dissemination of the Supplemental Disclosures, the grounds for seeking to enjoin the March

 7, 2017 stockholder vote and for otherwise seeking relief in the Actions were mooted. Lead

 Plaintiffs and Plaintiffs’ Counsel further believe that the dissemination of the Supplemental

 Disclosures fully resolved all of their claims under Section 14(a) of the Exchange Act that were

 or could have been asserted in the Actions.

        32.     The Settlement set forth herein reflects the results of the Parties’ negotiations and

 was reached after arm’s-length negotiations between the Parties, all of whom were represented

 by counsel with extensive experience and expertise in shareholder class action litigation. All

 Parties represent that, during the negotiations, they understood the strengths and weaknesses of

 their respective claims and defenses.

        33.     Lead Plaintiffs and Plaintiffs’ Counsel believe that the claims they have asserted

 in the Actions have legal merit, and that their claims were brought in good faith, and the entry by

 Lead Plaintiffs into this Stipulation and Settlement is not an admission as to the lack of merit of

 any claims asserted in the Actions, but that they entered into the Stipulation and Settlement

 because they believe the Settlement provided substantial benefits to the shareholders of




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 Genworth, including an opportunity to make a more fully informed decision with respect to the

 Merger, and is fair, reasonable, and adequate.

        34.     Defendants have denied, and continue to deny, any wrongdoing or liability with

 respect to all claims asserted in the Actions, including that they have committed any violations of

 law, that they have acted improperly in any way, that they have any liability or owe any damages

 of any kind to Lead Plaintiffs or the Settlement Class, and that any additional disclosures

 (including the additional disclosures made in the Supplemental Disclosures) are required under

 any applicable rule, regulation, statute, or law, but are entering into this Stipulation and

 Settlement solely because they consider it desirable that the litigation be settled and dismissed

 with prejudice in order to, among other things: (i) eliminate the burden, inconvenience, expense,

 distraction and uncertainty of further litigation; and (ii) finally resolve and terminate the

 Released Claims that were or could have been asserted against Defendants in the Actions.

        35.     Upon the Effective Date of the Settlement, the Released Claims shall be fully and

 completely discharged, settled, released, and dismissed with prejudice on the merits. The release

 provided for in this paragraph shall include all Released Claims on behalf of Lead Plaintiffs

 herein and all Settlement Class Members. Lead Plaintiffs and all members of the Settlement

 Class shall be forever barred and enjoined from instituting, prosecuting, participating in,

 continuing, maintaining or asserting any Released Claims, or assisting any person or entity in

 instituting, prosecuting, participating in, continuing, maintaining or asserting any Released

 Claims, against any of the Released Persons, whether directly or indirectly, on their own behalf

 or on behalf of any class or other person, in any jurisdiction.

        36.     Upon the Effective Date of the Settlement, Defendants shall release Lead

 Plaintiffs and Plaintiffs’ Counsel from any and all claims, complaints, petitions, or sanctions

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 arising out of the investigation, commencement, prosecution, settlement, or resolution of the

 Actions; provided, however, that Defendants shall retain the right to enforce the terms of this

 Stipulation and the Settlement and any claims or rights of any Defendant against its insurers or

 insurers’ successors or assignees.

         37.     The releases contemplated in paragraphs 35 and 36 of this Stipulation extend to,

 and Lead Plaintiffs, on behalf of themselves and the Settlement Class Members, and Defendants

 will be deemed to relinquish, to the extent it is applicable, and to the fullest extent permitted by

 law, the provisions, rights, and benefits of §1542 of the California Civil Code, which provides:

                 A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                 WHICH THE CREDITOR DOES NOT KNOW OR
                 SUSPECT TO EXIST IN HIS FAVOR AT THE TIME OF
                 EXECUTING THE RELEASE, WHICH IF KNOWN BY
                 HIM MUST HAVE MATERIALLY AFFECTED HIS
                 SETTLEMENT WITH THE DEBTOR.

         38.     In addition, Lead Plaintiffs, on behalf of themselves and the Settlement Class

 Members, and Defendants will be deemed to relinquish, to the extent they are applicable, and to

 the fullest extent permitted by law, the provisions, rights, and benefits of any law of any state or

 territory of the United States, federal law, or principle of common law, which is similar,

 comparable, or equivalent to §1542 of the California Civil Code. Lead Plaintiffs, on behalf of

 themselves and the Settlement Class Members, and Defendants acknowledge that they may

 discover facts after completing Confirmatory Discovery and executing the Stipulation in addition

 to or different from those now known or believed to be true with respect to the settled claims, but

 that it is the intention of the Parties to hereby fully, finally, and forever settle and release any and

 all Released Claims. Lead Plaintiffs, on behalf of themselves and the Settlement Class Members,

 and Defendants acknowledge, and shall be deemed to have acknowledged, that the inclusion of



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 this paragraph was separately bargained for, is an integral element of the Settlement and was

 relied upon by each and all of the Parties in entering into this Stipulation and Settlement.

 IV.    SUBMISSION AND APPLICATION TO THE COURT

        39.     No later than April 4, 2018, the Motion for Preliminary Approval of Class Action

 Settlement shall be filed along with a supporting brief and a proposed form of Preliminary

 Approval Order in the form attached hereto as Exhibit B, a proposed form of Notice of

 Settlement of Class Action in the form attached hereto as Exhibit C, and a proposed form of

 Final Judgment in the form attached hereto as Exhibit D. The Parties will work cooperatively to

 obtain Final Approval of the Settlement and Stipulation and the dismissal of the Actions with

 prejudice.

        40.     Genworth (or its successor(s) in interest or insurers) shall be responsible for

 providing Notice of the Settlement to the Settlement Class Members and shall pay all reasonable

 costs and expenses incurred in connection therewith.

 V.     CONDITIONS OF SETTLEMENT

        41.     This Stipulation and the Settlement provided for herein are expressly conditioned

 on and subject to: (i) final certification of the Settlement Class as a non-opt out class for

 settlement purposes only; (ii) Final Approval of the Settlement; (iii) entry of a Final Judgment

 substantially in the form of Exhibit D attached hereto; (iv) dismissal of the Actions with

 prejudice on the merits as to all Settlement Class Members (including Lead Plaintiffs) without

 the award of any damages, costs, or fees or the grant of further relief, except for the payments

 contemplated by this Stipulation; and (v) approval of a release of the Released Persons by the

 Court, in accordance with the definition of Released Claims and other provisions of this

 Stipulation.


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        42.     Defendants shall have the right to withdraw from and terminate the Settlement in

 the event that: (i) any court permanently or temporarily enjoins or otherwise precludes the

 Merger; (ii) Final Approval of the Settlement is not obtained for any reason; (iii) the Court does

 not enter a Final Judgment substantially in the form of Exhibit D attached hereto; or (iv) any

 Released Claim is commenced or prosecuted against any of the Released Persons in any court

 prior to Final Approval of the Settlement, and (following a motion by any Defendant) any such

 claim is not dismissed with prejudice or stayed in contemplation of dismissal with prejudice

 following Final Approval. In the event that any such claim is commenced or prosecuted against

 any of the Released Persons, the Parties shall cooperate and use their best efforts to secure the

 dismissal with prejudice thereof (or a stay thereof in contemplation of dismissal with prejudice

 following Final Approval of the Settlement).

        43.     This Stipulation and the Settlement shall be null and void and of no force or effect

 should the Settlement not obtain Final Approval for any reason, the Court declines to certify a

 Settlement Class as described in this Stipulation, or any of the conditions set forth in paragraph

 41 not be met. In any event of nullification of this Stipulation and Settlement: (i) the parties

 shall be deemed to be in the position they were in prior to the execution of the MOU; (ii) the

 statements made in the MOU, this Stipulation and in connection with the negotiation of the

 MOU, this Stipulation or the Settlement shall not be deemed to prejudice in any way the

 positions of the Parties with respect to the Actions, or any other litigation or judicial proceeding,

 or to constitute an admission of fact or wrongdoing by any of the Parties, and shall not be used or

 entitle any of the Parties to recover any fees, costs, or expenses incurred in connection with the

 Actions or in connection with any other litigation or judicial proceeding; and (iii) neither the

 existence of the MOU, this Stipulation or the Settlement, nor any of their contents or any

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 statements made in connection with their negotiation, or any other settlement communications,

 shall be admissible in evidence or shall be referred to for any purpose in the Actions or in any

 other litigation or judicial proceeding.

 VI.    ATTORNEYS’ FEES

        44.     The Parties will endeavor to negotiate in good faith regarding the amount of

 attorneys’ fees, costs and expenses to be paid to Plaintiffs’ Counsel (an “Agreed Fee”). In the

 event the Parties reach agreement on an Agreed Fee, Defendants shall not object to or oppose

 any application for an award of attorneys’ fees, costs, and expenses made by Plaintiffs’ Counsel

 in the Actions, provided that such an application is made in an amount no greater than the

 amount of the Agreed Fee. If the Parties are unable to reach agreement with respect to the

 amount of such attorneys’ fees, costs and expenses to be paid to Plaintiffs’ Counsel before the

 preliminary approval hearing set for April 9, 2018, Lead Plaintiffs reserve the right to submit an

 application to the Court concurrent with their Motion for Final Approval seeking such reasonable

 attorneys’ fees, costs, and expenses, and Defendants reserve the right to oppose any application

 by Plaintiffs’ Counsel for an award of attorneys’ fees, costs, and expenses, including any

 entitlement to an award of any attorneys’ fees, costs, or expenses as well as the amount of any

 such award, and to make any and all arguments against entitlement to or the amount of the

 attorneys’ fees, costs, and expenses as Defendants deem appropriate. The Parties agree to

 stipulate to a mutually agreeable briefing schedule concerning any such contested fee

 application. Genworth (or its successor(s), assign(s), and/or their insurer(s), and/or the insurer(s)

 of the Individual Defendants) shall pay the amount, if any, of the attorneys’ fees, costs, and

 expenses approved or awarded by the Court to Plaintiffs’ Counsel on behalf of all Defendants

 pursuant to written instructions provided jointly by Plaintiffs’ Counsel within ten (10) business


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 days after the later of: (a) the Court’s entry of the Final Judgment or judgment substantially in

 the form of Exhibit D awarding such attorneys’ fees, costs, and expenses; or (b) receipt of

 written payment instructions from Plaintiffs’ Counsel. Such payment shall be subject to the joint

 and several obligation of Plaintiffs’ Counsel to refund, within twenty (20) days, the amounts

 received and any interest accrued or accumulated thereon, if and to the extent that, as a result of

 any appeal, or successful collateral proceeding, any award of attorneys’ fees, costs and expenses

 is reduced or reversed or if the award order does not become final, if the Settlement itself is

 voided by any Party as provided herein, or if the approval of the Settlement is later reversed by

 any court.

        45.     Court approval of the Settlement shall not in any way be conditioned on Court

 approval of any application for an award of attorneys’ fees, costs or expenses. Any failure of the

 Court to approve any requested award of attorneys’ fees, costs or expenses, in whole or in part,

 shall not affect the remainder of the Settlement.

        46.     Plaintiffs’ Counsel, jointly and in their sole discretion, shall determine the

 allocation among counsel for any plaintiffs in the Actions of any attorneys’ fees, costs and

 expenses approved by the Court and paid by Defendants. Defendants and their Released Persons

 shall have no responsibility for, and no liability with respect to, the allocation or distribution of

 any attorneys’ fees, costs or expenses among counsel for any plaintiffs in the Actions or any

 other person or entity who may assert any claim thereto. Except as provided herein, the Released

 Persons shall bear no other expenses, costs, damages, or fees alleged or incurred by Lead

 Plaintiffs or any plaintiffs in connection with the Actions, or by any Settlement Class Member,

 or by any of their attorneys, experts, advisors, agents, or representatives. In the event that the

 Settlement is not finalized for any reason, Lead Plaintiffs reserve the right to pursue a mootness

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 fee application in connection with the Supplemental Disclosures, and Defendants reserve the

 right to oppose any such mootness fee application.

 VII.   MISCELLANEOUS PROVISIONS

        47.     Lead Plaintiffs, on behalf of themselves and the Settlement Class Members,

 acknowledge and agree that the parties to the Merger may make amendments or modifications to

 the Merger, including amendments or modifications to the Merger Agreement, before the

 effective date of the Merger. Lead Plaintiffs, on behalf of themselves and the Settlement Class

 Members, agree that they will not challenge or object to any such amendments or modifications

 so long as such amendments or modifications do not change the Merger Consideration to the

 Settlement Class’s detriment, materially change any other terms of the Merger that would be

 materially adverse to the Settlement Class’s interests, or materially conflict with this Stipulation.

        48.     Plaintiffs’ Counsel further represent that Lead Plaintiffs are and have been

 continuous shareholders of Genworth at all relevant times and have not assigned, encumbered, or

 otherwise transferred, in whole or in part, the claims in the Actions.

        49.     The Parties agree that, pending Final Approval, all proceedings in the Actions,

 except those related to the Settlement, shall be stayed. Lead Plaintiffs, on behalf of themselves

 and the Settlement Class Members, agree not to initiate, assert, commence, prosecute, assist,

 instigate, continue, or in any way participate in any other proceedings in any forum asserting any

 Released Claims against any Released Person, other than those that are incident to the Settlement

 itself. The Parties also agree to cooperate to prevent, stay or seek dismissal of or oppose entry of

 any interim or final relief in favor of any Settlement Class Member in any other litigation against

 any of the Parties to this Stipulation which challenges the Settlement or otherwise involves a

 Released Claim.


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        50.     The provisions contained in this Stipulation shall not be deemed or constitute a

 presumption, concession or an admission by Defendants of any fault, liability or wrongdoing as

 to any facts or claims that have been or might be alleged or asserted in the Actions, and shall not

 be interpreted, construed, deemed, invoked, offered, or received in evidence or otherwise used by

 any person against any Defendant in the Actions or in any other action or proceeding, whether

 civil, criminal or administrative, for any purpose other than as provided for expressly herein. Nor

 shall the provisions contained in this Stipulation be deemed a presumption, concession, or

 admission by Lead Plaintiffs concerning the merits, or lack thereof, of any facts or claims alleged

 or asserted in the Actions, or any other actions or proceedings, or that any of the Supplemental

 Disclosures are not material.

        51.     This Stipulation constitutes the entire agreement among the Parties with respect to

 the subject matter hereof and supersedes all written or oral communications, agreements or

 understandings that may have existed prior to the execution of this Stipulation. This Stipulation

 may not be amended, nor any of the provisions be waived, except by a writing signed by all of

 the Parties hereto.

        52.     This Stipulation, and all rights and powers granted hereby, shall be binding on

 and inure to the benefit of the Parties hereto and their respective agents, executors, heirs, legal

 representatives, successors and assigns.

        53.     This Stipulation shall be governed by, and construed in accordance with, the laws

 of the State of Delaware, without regard to any state’s principles governing choice of law.

        54.     The Court shall retain jurisdiction with respect to the implementation and

 enforcement of the terms of the Settlement.          Each of the Parties hereto irrevocably and

 unconditionally submits to and accepts the exclusive jurisdiction of the Court for any action, suit,

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                  EXHIBIT A
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                                 UNITED STATES
                     SECURITIES AND EXCHANGE COMMISSION
                                                              Washington, D.C. 20549



                                                                 FORM 8-K

                                                  CURRENT REPORT
                                           PURSUANT TO SECTION 13 OR 15(d)
                                       OF THE SECURITIES EXCHANGE ACT OF 1934

                                                             February 24, 2017
                                                               Date of Report
                                                      (Date of earliest event reported)




                           GENWORTH FINANCIAL, INC.
                                              (Exact name of registrant as specified in its charter)



                   Delaware                                              001-32195                                        XX-XXXXXXX
           (State or other jurisdiction of                               (Commission                                   (I.R.S. Employer
          incorporation or organization)                                 File Number)                                 Identification No.)


              6620 West Broad Street, Richmond, VA                                                            23230
                   (Address of principal executive offices)                                                  (Zip Code)

                                                                    (804) 281-6000
                                                    (Registrant’s telephone number, including area code)

                                                                    Not Applicable
                                             (Former Name or Former Address, if Changed Since Last Report)




Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant
under any of the following provisions (see General Instruction A.2 below):

☐    Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

☐    Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

☐    Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

☐    Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))
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Item 8.01    Other Events
     On January 25, 2017, Genworth Financial, Inc. (“Genworth”) filed a definitive proxy statement on Schedule 14A (the “Definitive
Proxy Statement”) with the Securities and Exchange Commission (the “SEC”) in connection with the solicitation of proxies for a
special meeting of Genworth’s stockholders to be held on March 7, 2017, where, among other things, stockholders will vote on a
proposal to adopt the Agreement and Plan of Merger, dated as of October 21, 2016 (as it may be amended from time to time) by and
among Genworth, Asia Pacific Global Capital Co., Ltd. (“Asia Pacific”) and Asia Pacific Global Capital USA Corporation, an indirect,
wholly owned subsidiary of Asia Pacific (“Merger Sub”). Genworth is electing to make supplemental disclosures set forth below.


                                    SUPPLEMENT TO DEFINITIVE PROXY STATEMENT

      This supplemental information should be read in conjunction with the Definitive Proxy Statement, which should be read in its
entirety. Page references in the below disclosures are to the Definitive Proxy Statement, and defined terms used but not defined herein
have the meanings set forth in the Definitive Proxy Statement. Without admitting in any way that the disclosures below are material or
otherwise required by law, Genworth makes the following amended and supplemental disclosures.

     The section of the Definitive Proxy Statement entitled: “Summary—Litigation Related to the Merger (see page 102)” on
page 13 of the Definitive Proxy Statement is amended and restated as follows:
     On January 12, 2017, two putative Genworth stockholders filed a complaint in the Delaware Court of Chancery, captioned
     Salberg v. Genworth Financial, Inc., C.A. No. 2017-0018-JRS, seeking an inspection of Genworth books and records, pursuant to
     8 Del. C. § 220, relating to the Board’s consideration of derivative claims belonging to Genworth in the context of the merger.
     Genworth previously provided the stockholders with certain books and records in response to a demand for inspection pursuant to
     8 Del. C. § 220. On February 6, 2017, Genworth filed an answer to that complaint.

     On January 23, 2017, a putative stockholder class action lawsuit, captioned Rice v. Genworth Financial Incorporated et al, Case
     No. 3:17-cv-00059-REP, was filed in the United States District Court for the Eastern District of Virginia (Richmond Division),
     against Genworth and the members of the Board. On January 25, 2017, two putative stockholder class action lawsuits, captioned
     James v. Genworth Financial, Inc. et al, Case No. 3:17-cv-00078-REP, and Rosenfeld Family Trust v. Genworth Financial, Inc. et
     al, Case No. 1:17-cv-00073-GMS, were filed in the United States District Court for the Eastern District of Virginia (Richmond
     Division) and the United States District Court for the District of Delaware, respectively, against Genworth and the members of the
     Board. On February 6, 2017, a putative stockholder class action lawsuit, captioned Chopp v. Genworth Financial, Inc. et al, Case
     No. 1:17-cv-00125-GMS, was filed in the United States District Court for the District of Delaware, against Genworth and the
     members of the Board. On February 10, 2017, a putative stockholder class action lawsuit, captioned Ratliff v. Genworth
     Financial, Inc. et al, Case No. 3:17-cv-00132-REP, was filed in the United States District Court for the Eastern District of Virginia
     (Richmond Division), against Genworth and the members of the Board. The complaints in all five actions allege, among other
     things, that the preliminary proxy statement filed by Genworth with the SEC on December 21, 2016 contains false and/or
     materially misleading statements and/or omits material information. The complaints in all five actions assert claims under
     Sections 14(a) and 20(a) of the Exchange Act, and seek equitable relief, including declaratory and injunctive relief, and an award
     of attorneys’ fees and expenses. On February 2, 2017, the plaintiff in the Rice action filed a motion for a preliminary injunction to
     enjoin the March 7, 2017 stockholder vote on the merger pending additional disclosure to Genworth’s stockholders concerning
     the merger. On February 10, 2017, the defendants filed an opposition to the preliminary injunction motion in the Rice action. Also
     on February 10, 2017, the plaintiff in the Rosenfeld Family Trust action filed a motion for a preliminary injunction to enjoin the
     March 7, 2017 stockholder vote on the merger pending additional disclosure to Genworth’s stockholders concerning the merger.
     On February 14, 2017, the defendants filed a motion to transfer the Rosenfeld Family Trust action to the Eastern District of
     Virginia. On February 15, 2017, the defendants filed a motion to transfer the Chopp action to the Eastern District of Virginia. On
     February 21, 2017, the parties to the Eastern District of Virginia actions (Rice, James and Ratliff) reached an agreement in
     principle to resolve the pending preliminary injunction motion in the Rice action through additional disclosure prior to the March
     7, 2017 stockholder vote on the merger. On February 22, 2017, the court in the Eastern District of Virginia consolidated the Rice,
     James and Ratliff actions, and the plaintiffs withdrew the preliminary injunction motion in the Rice action in consideration of
     agreed disclosures to be filed in this Form 8-K. Also on February 22, 2017, the court in the District of Delaware suspended
     briefing on the motion for preliminary injunction in the Rosenfeld Family Trust action and entered an order transferring the
     Rosenfeld Family Trust and Chopp actions to the Eastern District of Virginia. On February 23, 2017, the court in the Eastern
     District of Virginia received the transferred Rosenfeld Family Trust and Chopp actions, assigned the actions case numbers 3:17-
     cv-000156-REP and 3:17-cv-000157-REP, respectively, consolidated the Rosenfeld Trust and Chopp actions, and set the motion
     for preliminary injunction filed in the Rosenfeld Family Trust action for hearing on March 1, 2017.

    The section of the Definitive Proxy Statement entitled: “The Merger—Background of the Merger” is amended and
supplemented as follows:
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      The disclosure in the second full sentence of the first paragraph on page 40 of the Definitive Proxy Statement is amended and
restated as follows:
     During this time, the Board and, after it was established in March 2016, the Strategic Transactions Committee, comprised of the
     following independent directors: Mr. James S. Riepe, Ms. Melina E. Higgins and Mr. James A. Parke (which we refer to as the
     “STC”) (the formation of which is described below), were kept apprised of material developments with respect to the discussions
     and negotiations relating to the L&A Plus LTC Separation Transaction.

      The disclosure on page 47 of the Definitive Proxy Statement is amended and supplemented by adding the following new sentence
after the last sentence on such page:

      No reason was provided by Company D or its representatives to Genworth or its financial advisors as to why it was no longer
interested in pursuing a transaction with Genworth.

      The disclosure in the last sentence of the fourth full paragraph on page 48 of the Definitive Proxy Statement is amended and
restated as follows:
     At the May 11-12, 2016 meeting, the Board appointed another independent director, Mr. David M. Moffett, as an alternate
     member of the STC, in part, to address any potential availability constraints due to the frequency of the STC meetings.

     The disclosure on page 60 of the Definitive Proxy Statement is amended and supplemented by adding the following two new
sentences after the last sentence of the first paragraph on such page:
     Specifically: Goldman disclosed to Genworth, among other things, that as of such date no core member of its Investment Banking
     Division team working with Genworth at that time in connection with the merger owned any direct debt, equity or credit
     derivatives or convertible instruments (collectively, “investments”) with a value in excess of $10,000 in Genworth, China
     Oceanwide or Company A and, as of such date, none of Goldman’s Investment Banking Division, funds in which Goldman’s
     Investment Banking Division had a direct investment, or funds managed by Goldman’s Merchant Banking Division had a direct
     investment in Genworth, China Oceanwide or Company A or, if applicable, in funds managed by China Oceanwide or Company
     A; and Lazard disclosed to Genworth, among other things, that as of such date neither Lazard Group LLC or its subsidiaries nor,
     based on the information provided to Lazard, Lazard’s team members advising Genworth with respect to the merger at that time
     had any direct proprietary holdings in the securities of China Oceanwide or its affiliates.

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    The section of the Definitive Proxy Statement entitled: “The Merger—Opinions of Genworth’s Financial Advisors” is
amended and supplemented as follows:

    The disclosure in the last paragraph on page 74 of the Definitive Proxy Statement titled “Present Value of Future Share Price
Analysis” is amended and supplemented as follows:
     Present Value of Future Share Price Analysis. Goldman Sachs performed analyses of the implied present value of the future share
     price of Genworth common stock, which is designed to indicate the present value of a theoretical future value of Genworth’s
     equity as a function of its estimated future book value per share and an assumed range of price to book value multiples. For these
     analyses, Goldman Sachs used the Base Forecast for the one year periods ending December 31 of each of the years 2018 through
     2021 and the estimated number of fully diluted outstanding shares of Genworth as of December 31 of each of the years 2017
     through 2020 as provided by Genworth’s management. Goldman Sachs performed a regression analysis because, based on its
     experience and professional judgment, it was relevant to compare the implied relationship between reported price as a multiple of
     book value per share (excluding accumulated other comprehensive income, which we refer to as “ex. AOCI”, and, collectively, as
     the “P/BV (ex. AOCI)”) and the estimated return on average equity for 2017 (which we refer to as the “2017E ROAE”) for
     selected companies in the U.S. life insurance industry. To perform this regression analysis, Goldman Sachs first compared the
     implied relationship between the P/BV (ex. AOCI) as of June 30, 2016 for the selected companies in the U.S. life insurance
     industry and the estimated 2017E ROAE for the selected companies using estimates published by Institutional Brokers’ Estimate
     System (which we refer to as “IBES”) as of October 18, 2016. The names of the selected companies included in the regression
     analysis and the P/BV (ex. AOCI) calculated by Goldman Sachs are listed below:

                                                                                           2Q’ 2016 P/BV (ex. AOCI)
                     Selected Company                                                              Multiple
                     Metlife, Inc.                                                                 0.83x
                     Prudential Financial, Inc.                                                    1.18x
                     Ameriprise Financial, Inc.                                                    2.47x
                     Principal Financial Group, Inc.                                               1.49x
                     Lincoln National Corporation                                                  0.90x
                     Unum Group                                                                    0.98x
                     Torchmark Corporation                                                         2.04x
                     VOYA Financial, Inc.                                                          0.52x
                     CNO Financial Group, Inc.                                                     0.76x
                     Primerica, Inc.                                                               2.30x
                     FBL Financial Group, Inc.                                                     1.61x
                     American Equity Investment Life Holding Company                               0.93x

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      The disclosure on page 75 of the Definitive Proxy Statement is amended and supplemented by adding the following sentence[s]
after the first sentence of the second full paragraph on such page:

     R-squared is a statistical measure of the relationship of specified data to a regression line.

     The disclosure in the first sentence of the third full paragraph on page 75 of the Definitive Proxy Statement is amended and
supplemented as follows:
     The estimated P/BV multiples for each of the years 2017 through 2020 implied by applying the current discount were then
     applied to estimated book value per share of Genworth as set forth in the Base Forecast for each of the years 2017 through 2020
     to derive a range of implied future stock prices for Genworth for each of 2017 through 2020, which Goldman Sachs then
     discounted back to present value, using an illustrative discount rate of 20.1%, reflecting an estimate of Genworth’s cost of equity
     and derived by the application of the capital asset pricing model, which requires certain company-specific inputs, including a beta
     for Genworth, as well as certain financial metrics for the United States financial markets generally.

      The disclosure on page 76 of the Definitive Proxy Statement is amended and supplemented by adding the following sentence after
the first sentence of the second full paragraph on such page:
     The range of illustrative P/BV multiples was derived by Goldman Sachs based on its experience and professional judgment and
taking into account, among other factors, the specific circumstances of U.S. Life.

     The disclosure in the last sentence of the second full paragraph on page 75 of the Definitive Proxy Statement is amended and
supplemented as follows:
     Goldman Sachs used a range of discount rates from 11.0% to 13.0%, representing estimates of Genworth’s weighted average cost
     of capital and derived by the application of the capital asset pricing model, which requires certain company-specific inputs,
     including Genworth’s capital structure weightings, the cost of long-term debt, future applicable marginal cash tax rate and a beta
     for Genworth, as well as certain financial metrics for the United States financial markets generally.

      The disclosure on page 76 of the Definitive Proxy Statement is amended and supplemented by adding the following sentence after
the first sentence of the third full paragraph on such page:
     The range of one-year forward P/E multiples was derived by Goldman Sachs based on its experience and professional judgment
     and taking into account, among other factors, the specific circumstances of US MI.

     The disclosure in the second sentence of the third full paragraph on page 76 of the Definitive Proxy Statement is amended and
supplemented as follows:
     Goldman Sachs then discounted the estimated dividend streams from Genworth’s assumed 80.1% ownership in US MI for the
     period 2017 through 2020 as set forth in the Base Forecast and range of illustrative terminal values to derive illustrative present
     values, as of January 1, 2017, of Genworth’s assumed 80.1% ownership stake in US MI. Goldman Sachs used a range of discount
     rates from 11.0% to 13.0%, representing estimates of Genworth’s weighted average cost of capital and derived by the application
     of the capital asset pricing model, which requires certain company-specific inputs, including Genworth’s capital structure
     weightings, the cost of long-term debt, future applicable marginal cash tax rate and a beta for Genworth, as well as certain
     financial metrics for the United States financial markets generally.

      The disclosure on page 76 of the Definitive Proxy Statement is amended and supplemented by adding the following sentence after
the second sentence of the fourth full paragraph on such page:
     The range of estimated P/E multiples was derived by Goldman Sachs based on its experience and professional judgment and
     taking into account, among other factors, the specific circumstances of US MI.

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      The disclosure on page 76 of the Definitive Proxy Statement is amended and supplemented by adding the following sentence after
the first sentence of the fifth full paragraph on such page:
     The range of one-year forward P/E exit multiples was derived by Goldman Sachs based on its experience and professional
     judgment and taking into account, among other factors, the specific circumstances of Genworth Australia.

     The disclosure in the last sentence of the fifth full paragraph on page 76 of the Definitive Proxy Statement is amended and
supplemented as follows:
     Goldman Sachs used a range of discount rates from 11.0% to 13.0%, representing estimates of Genworth’s weighted average cost
     of capital and derived by the application of the capital asset pricing model, which requires certain company-specific inputs,
     including Genworth’s capital structure weightings, future applicable marginal cash tax rate and a beta for Genworth, as well as
     certain financial metrics for the United States financial markets generally.

     The disclosure in the last paragraph on page 76 of the Definitive Proxy Statement is amended and supplemented as follows:
     Goldman Sachs also derived an implied value for Corporate and Other, which resulted in an implied valuation of $(1.266 billion),
     using the following data provided by Genworth’s management: (i) pro forma estimates, as of January 1, 2017, of Genworth
     Holdings’ cash (excluding restricted cash) and debt valued at book value as provided by Genworth management (including
     estimates for the cash proceeds to Genworth Holdings from the assumed sale of its 57.3% stake in Genworth Canada, a one-time
     dividend paid by US MI to Genworth Holdings from the proceeds of an assumed debt issuance by US MI and cash proceeds to
     Genworth Holdings from its assumed sale of 19.9% of the outstanding shares of US MI in an initial public offering of US MI
     effective January 1, 2017), (ii) the net present value of certain net deferred tax assets as of December 31, 2016 (valued using a
     discount rate of 11.6%, representing an estimate of Genworth’s weighted average cost of capital and derived by the application of
     the capital asset pricing model, which requires certain company-specific inputs, including Genworth’s capital structure
     weightings, the cost of long-term debt, future applicable marginal cash tax rate and a beta for Genworth, as well as certain
     financial metrics for the United States financial markets generally, using the estimated utilization of such tax assets reflected in
     the Base Forecast) and (iii) the net present value as of December 31, 2016 of certain net accrued Genworth liabilities (valued
     using a discount rate of 11.6%, representing an estimate of Genworth’s weighted average cost of capital and derived by the
     application of the capital asset pricing model, which requires certain company-specific inputs, including Genworth’s capital
     structure weightings, the cost of long-term debt, future applicable marginal cash tax rate and a beta for Genworth, as well as
     certain financial metrics for the United States financial markets generally, using the estimated net payment of such liabilities
     reflected in the Base Forecast).

     The disclosure in the first full paragraph on page 81 of the Definitive Proxy Statement is amended and restated with the following
paragraphs:
     Lazard calculated and compared various financial multiples for each of the selected companies and Genworth based on estimates
     published by IBES as of October 18, 2016, including, among other things:
      •   closing price per share as of October 18, 2016, as a multiple of estimated 2017 earnings per share (which we refer to as “P/E
          2017E”);
      •   closing price per share as of October 18, 2016, as a multiple of estimated 2018 earnings per share (which we refer to as “P/E
          2018E”); and
      •   closing price per share as of October 18, 2016, as a multiple of P/BV (ex. AOCI) as of June 30, 2016 (which we refer to as
          “2Q’ 2016 P/BV (ex AOCI)”).

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     The names of the selected companies in the life insurance sector used in this selected companies analysis with respect to
Genworth and the P/E 2017E, P/E 2018E and 2Q’ 2016 P/BV (ex. AOCI) ratios for the selected companies calculated by Lazard in
connection with this analysis were as follows:

                                                                                          P/E       P/E     2Q’ 2016 P/BV
          Selected Company                                                               2017E     2018E     (ex. AOCI)
          Metlife, Inc.                                                                   8.2x      7.5x        0.83x
          Prudential Financial, Inc.                                                      8.2x      7.6x        1.18x
          Ameriprise Financial, Inc.                                                      9.3x      8.3x        2.47x
          Principal Financial Group, Inc.                                                11.1x     10.3x        1.49x
          Lincoln National Corporation                                                    7.1x      6.6x        0.90x
          Unum Group                                                                      9.0x      8.4x        0.98x
          Torchmark Corporation                                                          13.6x     12.8x        2.04x
          VOYA Financial, Inc.                                                            8.0x      6.5x        0.52x
          CNO Financial Group, Inc.                                                      10.4x      9.5x        0.76x
          Primerica, Inc.                                                                11.3x     10.4x        2.30x
          FBL Financial Group, Inc.                                                      15.1x     15.4x        1.61x
          American Equity Investment Life Holding Company                                 7.4x      7.3x        0.93x

     The disclosure in the second full paragraph on page 81 of the Definitive Proxy Statement is amended and supplemented as
follows:
     The names of the selected companies in the mortgage insurance sector used in this selected companies analysis with respect to
     Genworth and the P/E 2017E, P/E 2018E and 2Q’ 2016 P/BV (ex. AOCI) ratios for the selected companies calculated by Lazard
     in connection with this analysis were as follows:

                                                                                         P/E       P/E      2Q’ 2016 P/BV
          Selected Company                                                              2017E     2018E      (ex. AOCI)
          Radian Group Inc.                                                              8.2x      7.2x         1.15x
          MGIC Investment Corporation                                                    8.6x      7.9x         1.17x
          Essent Group Ltd.                                                             10.7x      9.7x         2.17x
          NMI Holdings, Inc.                                                             8.2x      7.3x         1.19x

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     The disclosure on page 81 of the Definitive Proxy Statement is amended and supplemented by adding the following sentence to
the beginning of the third full paragraph on such page:
     Lazard also calculated P/E 2017E, P/E 2018E and 2Q’ 2016 P/BV (ex. AOCI) ratios for Genworth, which were 5.5x, 5.4x and
     0.26x, respectively.
     The disclosure in the fourth full paragraph on page 81 of the Definitive Proxy Statement is hereby deleted.
     The disclosure in the first full paragraph on page 82 of the Definitive Proxy Statement is amended and restated as follows:
     Lazard performed a regression analysis because, based on its experience and professional judgment, it was relevant to compare
     the implied relationship between estimated return on average equity for 2017 and the ratio of P/BV (ex. AOCI) for the selected
     companies in the life insurance sector. To perform this regression analysis, Lazard first compared the implied relationship
     between the P/BV (ex. AOCI) as of June 30, 2016 for the selected companies in the life insurance sector and the estimated 2017E
     ROAE for the selected companies in the life insurance sector using estimates published by IBES as of October 18, 2016. Based
     on this analysis and assuming the current discount at which Genworth trades to the regression line (28.4% discount), Lazard noted
     that (i) the 2017 return on average equity set forth in the Base Forecast implied a ratio of P/BV per share for Genworth of 0.32x
     and (ii) the 2018 return on average equity set forth in the Base Forecast implied a ratio of P/BV per share for Genworth of 0.31x.

      The disclosure on page 83 of the Definitive Proxy Statement is amended and supplemented by adding the following sentence after
the first sentence of the second full paragraph on such page:
     The P/BV (ex. AOCI) multiples were derived by Lazard using its experience and professional judgment taking into account,
     among other factors, the specific circumstances of U.S. Life.

     The disclosure in the last sentence of the second full paragraph on page 83 of the Definitive Proxy Statement is amended and
supplemented as follows:
     Lazard used a range of discount rates from 10.0% to 12.0%, representing estimates of Genworth’s weighted average cost of
     capital, derived from a number of factors using the capital asset pricing model, which takes into account certain metrics,
     including, among others, the applicable risk-free rate of return, unlevered risk profile and pre-tax cost of long-term debt.

      The disclosure on page 83 of the Definitive Proxy Statement is amended and supplemented by adding the following sentence after
the first sentence of the third full paragraph on such page:
     The one-year forward P/E multiples were derived by Lazard using its experience and professional judgment taking into account,
     among other factors, the specific circumstances of US MI.

     The disclosure in the last sentence of the third full paragraph on page 83 of the Definitive Proxy Statement is amended and
supplemented as follows:
     Lazard used a range of discount rates from 8.5% to 10.0%, representing estimates of US MI’s cost of equity, calculated by
     utilizing the capital asset pricing model, which uses a “beta” metric, a risk-free rate of return, a market risk premium and a
     marginal tax rate, which resulted in implied present values of Genworth’s assumed 80.1% ownership stake in US MI ranging
     from $1.419 billion to $1.808 billion, and a range of discount rates from 10.0% to 12.0%, representing estimates of Genworth’s
     weighted average cost of capital, derived from a number of factors using the capital asset pricing model, which takes into account
     certain metrics, including, among others, the applicable risk-free rate of return, unlevered risk profile and pre-tax cost of long-
     term debt, which resulted in implied present values of Genworth’s assumed 80.1% ownership stake in US MI ranging from
     $1.328 billion to $1.717 billion.

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      The disclosure on page 83 of the Definitive Proxy Statement is amended and supplemented by adding the following sentence after
the first sentence of the fourth full paragraph on such page:
      The one-year forward P/E multiples were derived by Lazard using its experience and professional judgment taking into account,
      among other factors, the specific circumstances of Genworth Australia.

     The disclosure in the last sentence of the fourth full paragraph on page 83 of the Definitive Proxy Statement is amended and
supplemented as follows:
      Lazard used a range of discount rates from 9.0% to 10.5%, representing estimates of Genworth Australia’s cost of equity
      calculated by utilizing the capital asset pricing model, which uses a “beta” metric, a risk-free rate of return, market risk premium
      and a marginal tax rate, which resulted in implied present values of Genworth’s 52% ownership stake in Genworth Australia
      ranging from $506 million to $576 million, and a range of discount rates from 10.0% to 12.0%, representing estimates of
      Genworth’s weighted average cost of capital, derived from a number of factors using the capital asset pricing model, which takes
      into account certain metrics, including, among others, the applicable risk-free rate of return, unlevered risk profile and pre-tax
      cost of long-term debt, which resulted in implied present values of Genworth’s 52% ownership stake in Genworth Australia
      ranging from $488 million to $561 million.

     The section of the Definitive Proxy Statement entitled: “The Merger—Certain Genworth Unaudited Financial
Projections” is amended and supplemented as follows:

      The table appearing on page 89 of the Definitive Proxy Statement titled “Financial Metrics” under the section titled “Summary of
Genworth’s Management Base Forecast” thereof is amended and supplemented by adding three rows therein to show (i) Book Value
(excluding AOCI), (ii) U.S. Life Book Value (excluding AOCI) and (iii) Shares Outstanding (on a fully diluted basis), in each case, for
the projected fiscal years 2016 through 2021, as prepared by Genworth’s management:


                                          Summary of Genworth’s Management Base Forecast

Financial Metrics

                                                                                           Projected Fiscal Year
                                                                  2016E        2017E       2018E        2019E          2020E        2021E
(in millions, unless per share amounts)
Non-GAAP Operating Earnings (Loss) per Share                     $ (0.41)     $ 0.68      $ 0.66       $ 0.81      $  0.96      $  0.98
Non-GAAP Operating Return on Equity (“ROE”)                         (2.2)%       3.8%        3.6%         4.2%          4.8%         4.7%
Book Value (excluding AOCI) Per Share                            $17.72       $18.23      $18.73       $19.52      $ 20.40      $ 21.36
Book Value (excluding AOCI)                                      $8,897       $9,127      $9,426       $9,807      $10,264      $10,730
U.S. Life Book Value (excluding AOCI)                            $6,430       $6,537      $6,635       $6,821      $ 7,039      $ 7,223
Cash Flow Coverage (1)                                               0.8         0.6         1.1          0.9           0.8          0.7
Non-GAAP Leverage Ratio                                             25.8%       18.2%       17.9%        19.3%        17.7%        13.9%
MI Dividends (2)                                                 $ 222        $ 424       $ 209        $ 187       $ 167        $ 128
Holding Company Cash ($ in billions)                             $ 1.5        $ 0.4       $ 0.4        $ 0.9       $    0.8     $    0.3
Holding Company Debt ($ in billions)                             $ 3.8        $ 2.3       $ 2.3        $ 2.7       $    2.5     $    1.9
Debt to Capital Ratio                                                 31%         23%         22%          24%          22%          17%
Shares Outstanding (Diluted)                                         502         501         503          502          503          502

(1) Cash Flow Coverage means the difference of the aggregate dividends paid to Genworth Holdings from Genworth Holdings’
    subsidiaries less cash contributed by Genworth Holdings to its subsidiaries in the same period, divided by interest expense and
    estimated corporate overhead costs of Genworth Holdings that are not reimbursed by such subsidiaries. The 2016 Cash Flow
    Coverage metric excludes the $175 million cash contribution from Genworth Holdings to GLIC to facilitate the unstacking.
    Including this $175 million cash contribution from Genworth Holdings to GLIC would make the 2016 Cash Flow Coverage 0.2.
    The 2017 Cash Flow Coverage metric excludes a $300 million dividend paid by US MI to Genworth Holdings from the proceeds
    of an assumed debt issuance by US MI. Including this $300 million dividend from US MI to Genworth Holdings would make the
    2017 Cash Flow Coverage 2.3. Cash Flow Coverage is an operating measure that is not defined by GAAP and all of the inputs are
    calculated in accordance with GAAP. Accordingly, Cash Flow Coverage is not a non-GAAP financial measure.

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(2) MI Dividends reflects the projected dividends for each of Genworth Australia, US MI, and in the case of fiscal 2016 only,
    Genworth Canada, in the aggregate. The Base Forecast assumes there will be no dividends from U.S. Life to Genworth Holdings
    during the forecast period. The projected dividends for 2017E include a $300 million dividend paid by US MI to Genworth
    Holdings from the proceeds of an assumed debt issuance by US MI.

     The disclosure on page 89 of the Definitive Proxy Statement under the section titled “Summary of Genworth’s Management Base
Forecast” is further amended and supplemented to insert the following table after the table titled “Consolidated Non-GAAP Operating
Income (Loss)”:

     Corporate and Other Estimated Pro Forma Balances

                     ($ in millions)                                                                        2016E
                     Net Accrued HR Expenses                                                                $(216)
                     Holding Company Tax Matters Liabilities                                                $ (89)

     The section of the Definitive Proxy Statement entitled: “The Merger—Litigation Related to the Merger” on page 102 of
the Definitive Proxy Statement is amended and restated as follows:

     Litigation Related to the Merger
     On January 12, 2017, two putative Genworth stockholders filed a complaint in the Delaware Court of Chancery, captioned
     Salberg v. Genworth Financial, Inc., C.A. No. 2017-0018-JRS, seeking an inspection of Genworth books and records, pursuant to
     8 Del. C. § 220, relating to the Board’s consideration of derivative claims belonging to Genworth in the context of the merger.
     Genworth previously provided the stockholders with certain books and records in response to a demand for inspection pursuant to
     8 Del. C. § 220. On February 6, 2017, Genworth filed an answer to that complaint.

     On January 23, 2017, a putative stockholder class action lawsuit, captioned Rice v. Genworth Financial Incorporated, Case
     No. 3:17-cv-00059-REP, was filed in the United States District Court for the Eastern District of Virginia (Richmond Division),
     against Genworth and the members of the Board. On January 25, 2017, two putative stockholder class action lawsuits, captioned
     James v. Genworth Financial, Inc., Case No. 3:17-cv-00078-REP, and Rosenfeld Family Trust v. Genworth Financial, Inc., Case
     No. 1:17-cv-00073-GMS, were filed in the United States District Court for the Eastern District of Virginia (Richmond Division)
     and the United States District Court for the District of Delaware, respectively, against Genworth and the members of the
     Board. On February 6, 2017, a putative stockholder class action lawsuit, captioned Chopp v. Genworth Financial, Inc., Case
     No. 1:17-cv-00125-GMS, was filed in the United States District Court for the District of Delaware, against Genworth and the
     members of the Board. On February 10, 2017, a putative stockholder class action lawsuit, captioned Ratliff v. Genworth
     Financial, Inc., Case No. 3:17-cv-00132-REP, was filed in the United States District Court for the Eastern District of Virginia
     (Richmond Division), against Genworth and the members of the Board. The complaints in all five actions allege, among other
     things, that the preliminary proxy statement filed by Genworth with the SEC on December 21, 2016 contains false and/or
     materially misleading statements and/or omits material information. The complaints in all five actions assert claims under
     Sections 14(a) and 20(a) of the Exchange Act, and seek equitable relief, including declaratory and injunctive relief, and an award
     of attorneys’ fees and expenses. On February 2, 2017, the plaintiff in the Rice action filed a motion for a preliminary injunction to
     enjoin the March 7, 2017 stockholder vote on the merger pending additional disclosure to Genworth’s stockholders concerning
     the merger. On February 10, 2017, the defendants filed an opposition to the preliminary injunction motion in the Rice action. Also
     on February 10, 2017, the plaintiff in the Rosenfeld Trust action filed a motion for a preliminary injunction to enjoin the March 7,
     2017 stockholder vote on the merger pending additional disclosure to Genworth’s stockholders concerning the merger. On
     February 14, 2017, the defendants filed a motion to transfer the Rosenfeld Trust action to the Eastern District of Virginia. On
     February 15, 2017, the defendants filed a motion to transfer the Chopp action to the Eastern District of Virginia. On February 21,
     2017, the parties to the Eastern District of Virginia actions (Rice, James and Ratliff) reached an agreement in principle to resolve
     the pending preliminary injunction motion in the Rice action through additional disclosure prior to the March 7, 2017 stockholder
     vote on the merger. On February 22, 2017, the court in the Eastern District of Virginia consolidated the Rice, James and Ratliff
     actions, and the plaintiffs withdrew the preliminary injunction motion in the Rice action in consideration of agreed disclosures to
     be filed in this Form 8-K. Also on February 22, 2017, the court in the District of Delaware suspended briefing on the motion for
     preliminary injunction in the Rosenfeld Trust action and entered an order transferring the Rosenfeld Trust and Chopp actions to
     the Eastern District of Virginia. On February 23, 2017, the court in the Eastern District of Virginia received the transferred
     Rosenfeld Trust and Chopp actions, assigned the actions case numbers 3:17-cv-000156-REP and 3:17-cv-000157-REP,
     respectively, consolidated the Rosenfeld Trust and Chopp actions, and set the motion for preliminary injunction filed in the
     Rosenfeld Trust action for hearing on March 1, 2017.

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     Important Information About the Transaction and Where to Find It
      This communication may be deemed to be a solicitation material in respect of the transaction. On January 25, 2017, Genworth
filed the Definitive Proxy Statement with the SEC in connection with the solicitation of proxies for a special meeting to be held on
March 7, 2017. The Definitive Proxy Statement and a proxy card have been mailed to each stockholder of Genworth entitled to vote at
the meeting. Genworth stockholders are urged to read the Definitive Proxy Statement (including any and all amendments and
supplements thereto) and all other relevant documents which Genworth will file with the SEC when they become available,
because they will contain important information about the proposed transaction and related matters. Stockholders will also be
able to obtain copies of the Definitive Proxy Statement, without charge, when available, at the SEC’s website at www.sec.gov or by
contacting the investor relations department of Genworth at the following:

                                                       investorinfo@genworth.com


     Participants in the Solicitation
      Genworth and its directors and executive officers may be deemed to be participants in the solicitation of proxies of Genworth’s
stockholders in connection with the proposed transaction. Genworth’s stockholders may obtain, without charge, more detailed
information regarding such interested participants in the Definitive Proxy Statement, Genworth’s Annual Report on Form 10-K filed
with the SEC on February 26, 2016, any Statements of Changes in Beneficial Ownership on Form 4 of such participants, filed with the
SEC, and certain other documents to be filed with the SEC in connection with the proposed transaction.


     Cautionary Note Regarding Forward-Looking Statements
       This communication includes certain statements that may constitute “forward-looking statements” within the meaning of the
federal securities laws, including Section 27A of the Securities Act of 1933, as amended, and Section 21E of the Securities Exchange
Act of 1934, as amended. Forward-looking statements may be identified by words such as “expects,” “intends,” “anticipates,” “plans,”
“believes,” “seeks,” “estimates,” “will” or words of similar meaning and include, but are not limited to, statements regarding the
outlook for the company’s future business and financial performance. Forward-looking statements are based on management’s current
expectations and assumptions, which are subject to inherent uncertainties, risks and changes in circumstances that are difficult to
predict. Actual outcomes and results may differ materially from those in the forward-looking statements and factors that may cause
such a difference include, but are not limited to, risks and uncertainties related to: (i) the risk that the transaction may not be completed
in a timely manner or at all, which may adversely affect Genworth’s business and the price of Genworth’s common stock; (ii) the
ability of the parties to obtain stockholder and regulatory approvals, or the possibility that they may delay the transaction or that
materially burdensome or adverse regulatory conditions may be imposed in connection with any such regulatory approvals; (iii) the
risk that a condition to closing of the transaction may not be satisfied; (iv) potential legal proceedings that may be instituted against
Genworth following announcement of the transaction; (v) the risk that the proposed transaction disrupts Genworth’s current plans and
operations as a result of the announcement and consummation of the transaction; (vi) potential adverse reactions or changes to
Genworth’s business relationships with clients, employees, suppliers or other parties or other business uncertainties resulting from the
announcement of the transaction or during the pendency of the transaction, including but not limited to such changes that could affect
Genworth’s financial performance; (vii) certain restrictions during the pendency of the transaction that may impact Genworth’s ability
to pursue certain business opportunities or strategic transactions; (viii) continued availability of capital and financing to Genworth
before the consummation of the transaction; (ix) further rating agency actions and downgrades in Genworth’s financial strength ratings;
(x) changes in applicable laws or regulations; (xi) Genworth’s ability to recognize the anticipated benefits of the transaction; (xii) the
amount of the costs, fees, expenses and other charges related to the transaction; (xiii) the risks related to diverting management’s
attention from Genworth’s ongoing business operations; (xiv) the impact of changes in interest rates and political instability; and
(xv) other risks and uncertainties described in the Proxy Statement, Genworth’s Annual Report on Form 10-K, filed with the SEC on
February 26, 2016 and as updated in Genworth’s Form 10-Q filed with the SEC on November 8, 2016. Unlisted factors may present
significant additional obstacles to the realization of forward-looking statements. Consequences of material differences in results as
compared with those anticipated in the forward-looking statements could include, among other things, business disruption, operational
problems, financial loss, legal liability to third parties and similar risks, any of which could have a material adverse effect on
Genworth’s consolidated financial condition, results of operations, credit rating or liquidity. Accordingly, forward-looking statements
should not be relied upon as representing Genworth’s views as of any subsequent date, and Genworth does not undertake any
obligation to update forward-looking statements to reflect events or circumstances after the date they were made, whether as a result of
new information, future events or otherwise, except as may be required under applicable securities laws.

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                                                            SIGNATURES

     Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its
behalf by the undersigned hereunto duly authorized.

Date: February 24, 2017                                                 GENWORTH FINANCIAL, INC.

                                                                        By: /s/ Ward E. Bobitz
                                                                            Ward E. Bobitz
                                                                            Executive Vice President and General Counsel

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                               UNITED STATES
                   SECURITIES AND EXCHANGE COMMISSION
                                                          Washington, D.C. 20549



                                                               FORM 8-K

                                                CURRENT REPORT
                                         PURSUANT TO SECTION 13 OR 15(d)
                                     OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                 February 28, 2017
                                                                  Date of Report
                                                            (Date of earliest event reported)




                        GENWORTH FINANCIAL, INC.
                                            (Exact name of registrant as specified in its charter)



                              Delaware                                  001-32195                          XX-XXXXXXX
                      (State or other jurisdiction of                  (Commission                     (I.R.S. Employer
                     incorporation or organization)                    File Number)                   Identification No.)

                                6620 West Broad Street, Richmond, VA                                         23230
                                     (Address of principal executive offices)                               (Zip Code)

                                                               (804) 281-6000
                                           (Registrant’s telephone number, including area code)

                                                                   Not Applicable
                                           (Former Name or Former Address, if Changed Since Last Report)




Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant
under any of the following provisions (see General Instruction A.2 below):

☐    Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

☐    Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

☐    Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

☐    Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))
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Item 8.01 Other Events

      On January 25, 2017, Genworth Financial, Inc. (“Genworth”) filed a definitive proxy statement on Schedule 14A (the “Definitive
Proxy Statement”) with the Securities and Exchange Commission (the “SEC”) in connection with the solicitation of proxies for a
special meeting of Genworth’s stockholders to be held on March 7, 2017, where, among other things, stockholders will vote on a
proposal to adopt the Agreement and Plan of Merger, dated as of October 21, 2016 (as it may be amended from time to time in
accordance with its terms) by and among Genworth, Asia Pacific Global Capital Co., Ltd. (“Asia Pacific”) and Asia Pacific Global
Capital USA Corporation, an indirect, wholly owned subsidiary of Asia Pacific. On February 24, 2017, Genworth filed a current report
on a Form 8-K supplementing the Definitive Proxy Statement with certain amended and supplemental disclosures (“Supplement No. 1
to the Definitive Proxy Statement”). Genworth is electing to make further supplemental disclosures to the Definitive Proxy Statement
as set forth below.


                                 SUPPLEMENT NO. 2 TO DEFINITIVE PROXY STATEMENT

     This supplemental information should be read in conjunction with the Definitive Proxy Statement and Supplement No. 1 to the
Definitive Proxy Statement which should be read in their entirety. Page references in the below disclosures are to the Definitive Proxy
Statement, and defined terms used but not defined herein have the meanings set forth in the Definitive Proxy Statement (as amended
and supplemented by Supplement No. 1 to the Definitive Proxy Statement). Without admitting in any way that the disclosures below are
material or otherwise required by law, Genworth makes the following amended and supplemental disclosures.

     The section of the Definitive Proxy Statement entitled: “The Merger—Certain Genworth Unaudited Financial
Projections” is amended and supplemented as follows:

     The disclosure in first two full sentences on page 87 of the Definitive Proxy Statement is amended and restated as follows:

     After each of these discussions, changes were made to a number of the assumptions used in the preparation of the September
     projections, including less conservative assumptions relating to future interest rates but also ratings downgrades and the related
     impact on US MI’s market share. Specifically, an estimated tax valuation allowance of $300 million and the potential increase in
     LTC insurance claim reserves that could be recorded in the third quarter were assumed, in the absence of an extraordinary
     transaction such as the merger, to result in a subsequent downgrading by S&P of Genworth Holdings; additionally, US MI’s S&P
     ratings were assumed to be downgraded by one or two notches, with a resulting negative impact on US MI’s market share, the
     assumed future interest rates were increased to reflect then-current interest rates and certain third-party estimates, and the
     assumed price per share to be received in the sale of Genworth Canada was decreased to reflect the reduction in Genworth
     Canada’s per share trading price after September 25, 2016.

      The disclosure on page 87 of the Definitive Proxy Statement is amended and supplemented to add the following sentence after the
third full sentence on such page:

     The net effect of Genworth’s management’s revisions to the September projections and the assumptions underlying those
     projections, between September 25, 2016 and October 14, 2016, included, among other things, (i) an increase in the amount of
     Genworth Holdings’ debt that would remain outstanding over the projected period ending December 31, 2021, (ii) an increase in
     corporate and other expenses in each fiscal year ending December 31, 2016 through 2021 (due in part to higher debt levels during
     the projected period), (iii) an increase in consolidated non-GAAP operating earnings per share, and operating income, for each
     fiscal year ending December 31, 2017 and 2018 and (iv) a decrease in consolidated non-GAAP operating earnings per share, and
     operating income, for each fiscal year ending December 31, 2019, 2020 and 2021.

      The disclosure in footnote 2 to the table appearing on page 89 of the Definitive Proxy Statement titled “Financial Metrics” under
the section titled “Summary of Genworth’s Management Base Forecast” thereof (and restated in its entirety, without modification, in
Supplement No. 1 to the Definitive Proxy Statement) is amended and restated as follows:

     (2) MI Dividends reflects the projected dividends for each of Genworth Australia, US MI, and in the case of fiscal 2016 only,
         Genworth Canada, in the aggregate. The Base Forecast assumes there will be no dividends from U.S. Life to Genworth
         Holdings during the forecast period. The projected dividends for 2017E include $84 million from Genworth Australia, and
         $340 million from US MI, $300 million of which are proceeds from an assumed debt issuance by US MI. Genworth
         Australia is a public company and does not publicly disclose multi-year guidance concerning its financial projections,
         including projected dividends.

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     The disclosure in Supplement No. 1 of the Definitive Proxy Statement, which amended and restated the section of the
Definitive Proxy Statement entitled: “Summary—Litigation Related to the Merger (see page 102)” on page 13 of the Definitive
Proxy Statement is amended and supplemented by adding the following two sentences after the last sentence of the second
paragraph thereof:

     On February 26, 2017, defendants filed an opposition to the preliminary injunction motion in the Rosenfeld Family Trust action.
     On February 27, 2017, the parties in the Rosenfeld Family Trust action reached an agreement in principle to resolve the pending
     preliminary injunction motion in the Rosenfeld Family Trust action through additional disclosure prior to the March 7, 2017
     stockholder vote on the merger, and the plaintiff in the Rosenfeld Family Trust action withdrew its preliminary injunction motion
     in consideration of the agreed disclosures to be filed in this Form 8-K by February 28, 2017.

     The disclosure in Supplement No. 1 to the Definitive Proxy Statement, which amended and restated the section of the
Definitive Proxy Statement entitled: “The Merger—Litigation Related to the Merger” on page 102 is amended and
supplemented by adding the following two sentences after the last sentence of the second paragraph thereof:

     Litigation Related to the Merger

     On February 26, 2017, defendants filed an opposition to the preliminary injunction motion in the Rosenfeld Family Trust action.
     On February 27, 2017, the parties in the Rosenfeld Family Trust action reached an agreement in principle to resolve the pending
     preliminary injunction motion in the Rosenfeld Family Trust action through additional disclosure prior to the March 7, 2017
     stockholder vote on the merger, and the plaintiff in the Rosenfeld Family Trust action withdrew its preliminary injunction motion
     in consideration of the agreed disclosures to be filed in this Form 8-K by February 28, 2017.

     Important Information About the Transaction and Where to Find It

     This communication may be deemed to be solicitation material in respect of the transaction. On January 25, 2017, Genworth filed
the Definitive Proxy Statement with the SEC in connection with the solicitation of proxies for a special meeting to be held on March 7,
2017. The Definitive Proxy Statement and a proxy card have been mailed to each stockholder of Genworth entitled to vote at the
meeting. Genworth stockholders are urged to read the Definitive Proxy Statement (including Supplement No. 1 to the Definitive
Proxy Statement and any and all other amendments and supplements to the Definitive Proxy Statement) and all other relevant
documents which Genworth will file with the SEC when they become available, because they will contain important
information about the proposed transaction and related matters. Stockholders will also be able to obtain copies of the Definitive
Proxy Statement, without charge, when available, at the SEC’s website at www.sec.gov or by contacting the investor relations
department of Genworth at the following:

                                                     investorinfo@genworth.com

     Participants in the Solicitation

      Genworth and its directors and executive officers may be deemed to be participants in the solicitation of proxies of Genworth’s
stockholders in connection with the proposed transaction. Genworth’s stockholders may obtain, without charge, more detailed
information regarding such interested participants in the Definitive Proxy Statement, Genworth’s Annual Report on Form 10-K filed
with the SEC on February 27, 2017, any Statements of Changes in Beneficial Ownership on Form 4 of such participants, filed with the
SEC, and certain other documents to be filed with the SEC in connection with the proposed transaction.

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     Cautionary Note Regarding Forward-Looking Statements

       This communication includes certain statements that may constitute “forward-looking statements” within the meaning of the
federal securities laws, including Section 27A of the Securities Act of 1933, as amended, and Section 21E of the Securities Exchange
Act of 1934, as amended. Forward-looking statements may be identified by words such as “expects,” “intends,” “anticipates,” “plans,”
“believes,” “seeks,” “estimates,” “will” or words of similar meaning and include, but are not limited to, statements regarding the
outlook for the company’s future business and financial performance. Forward-looking statements are based on management’s current
expectations and assumptions, which are subject to inherent uncertainties, risks and changes in circumstances that are difficult to
predict. Actual outcomes and results may differ materially from those in the forward-looking statements and factors that may cause
such a difference include, but are not limited to, risks and uncertainties related to: (i) the risk that the transaction may not be completed
in a timely manner or at all, which may adversely affect Genworth’s business and the price of Genworth’s common stock; (ii) the
ability of the parties to obtain stockholder and regulatory approvals, or the possibility that they may delay the transaction or that
materially burdensome or adverse regulatory conditions may be imposed in connection with any such regulatory approvals; (iii) the
risk that a condition to closing of the transaction may not be satisfied; (iv) potential legal proceedings that may be instituted against
Genworth following announcement of the transaction; (v) the risk that the proposed transaction disrupts Genworth’s current plans and
operations as a result of the announcement and consummation of the transaction; (vi) potential adverse reactions or changes to
Genworth’s business relationships with clients, employees, suppliers or other parties or other business uncertainties resulting from the
announcement of the transaction or during the pendency of the transaction, including but not limited to such changes that could affect
Genworth’s financial performance; (vii) certain restrictions during the pendency of the transaction that may impact Genworth’s ability
to pursue certain business opportunities or strategic transactions; (viii) continued availability of capital and financing to Genworth
before the consummation of the transaction; (ix) further rating agency actions and downgrades in Genworth’s financial strength ratings;
(x) changes in applicable laws or regulations; (xi) Genworth’s ability to recognize the anticipated benefits of the transaction; (xii) the
amount of the costs, fees, expenses and other charges related to the transaction; (xiii) the risks related to diverting management’s
attention from Genworth’s ongoing business operations; (xiv) the impact of changes in interest rates and political instability; and
(xv) other risks and uncertainties described in the Proxy Statement and Genworth’s Annual Report on Form 10-K, filed with the SEC
on February 27, 2017. Unlisted factors may present significant additional obstacles to the realization of forward-looking statements.
Consequences of material differences in results as compared with those anticipated in the forward-looking statements could include,
among other things, business disruption, operational problems, financial loss, legal liability to third parties and similar risks, any of
which could have a material adverse effect on Genworth’s consolidated financial condition, results of operations, credit rating or
liquidity. Accordingly, forward-looking statements should not be relied upon as representing Genworth’s views as of any subsequent
date, and Genworth does not undertake any obligation to update forward-looking statements to reflect events or circumstances after the
date they were made, whether as a result of new information, future events or otherwise, except as may be required under applicable
securities laws.

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                                                            SIGNATURES

     Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its
behalf by the undersigned hereunto duly authorized.

Date: February 28, 2017                                                 GENWORTH FINANCIAL, INC.


                                                                        By: /s/ Ward E. Bobitz
                                                                            Ward E. Bobitz
                                                                            Executive Vice President and General Counsel


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                   EXHIBIT B
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION

 ALEXANDER RICE, Individually and On
 Behalf of All Others Similarly Situated,

                               Plaintiff,

                       v.                           Consol. Case No. 3:17-cv-00059-REP

 GENWORTH FINANCIAL INCORPORATED,
 THOMAS J. MCINERNEY, JAMES S. RIEPE,
 WILLIAM H. BOLINDER, G. KENT
 CONRAD, MELINA E. HIGGINS, DAVID M.
 MOFFETT, THOMAS E. MOLONEY, JAMES
 A. PARKE, DEBRA J. PERRY, and ROBERT
 P. RESTREPO JR.,

                               Defendants.


                   ORDER APPROVING THE NOTICE OF PENDENCY
                   AND PROPOSED SETTLEMENT OF CLASS ACTION

        The parties having made an application for an Order Approving the Notice of Pendency

 and Proposed Settlement of Class Action (the “Order”) in accordance with a Stipulation of Class

 Action Settlement dated April 4, 2018 (the “Stipulation”), which, together with the exhibits

 thereto, sets forth the terms and conditions for settlement of this consolidated action; and the

 Court having read and considered the Stipulation and all accompanying papers;

        IT IS HEREBY ORDERED that:

        1.      Interpretation. All capitalized terms not defined in this Order shall have the

 meanings ascribed to them in the Stipulation.

        2.      Approval of Notice. The Court approves, in form and content, the Notice of

 Pendency and Proposed Settlement of Class Action (the “Notice”) annexed as Exhibit C to the

 Stipulation and finds that the mailing of the Notice will comport with the requirements of Fed. R.
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 Civ. P. 23 is the best notice practicable and shall constitute due and sufficient notice of the

 Settlement Hearing (as defined in paragraph 5 below) and all other matters referred to in the

 Notice to all persons entitled to receive notice of the Settlement Hearing.

        3.      Notice Procedures. Before sixty (60) days prior to the date of the Settlement

 Hearing, Defendant Genworth Financial, Inc. or its successor(s) in interest (“Genworth”) shall

 cause a copy of the Notice, substantially in the form attached as Exhibit C to the Stipulation, to

 be mailed to all shareholders of record who owned common stock of Genworth at any time

 during the Class Period (as defined below) at their last known address appearing in the stock

 transfer records maintained by or on behalf of Genworth. All shareholders of record in the

 Settlement Class who were not also the beneficial owners of the shares of Genworth common

 stock held by them of record shall be requested to forward the Notice to such beneficial owners

 of those shares. Genworth shall use reasonable efforts to give notice to such beneficial owners by

 making additional copies of the Notice available to any record holder who, prior to the

 Settlement Hearing, requests the same for distribution to beneficial owners. Genworth shall, no

 later than seven (7) days before the Settlement Hearing, cause an appropriate affidavit of proof of

 mailing with respect to the Notice to be filed with the Court.

                4.      Conditional Certification of the Settlement Class. Pursuant to Fed. R. Civ.

 P. 23, the Court conditionally certifies, for settlement purposes only, a non-opt-out class

 consisting of any and all record holders and beneficial owners of common stock of Genworth

 who held or owned such stock at any time during the period beginning on and including October

 23, 2016, through and including the date of consummation of the Merger or, if the Merger is not

 consummated for any reason, March 7, 2017 (the “Class Period”), including any and all of their

 respective    successors-in-interest,    successors,     predecessors-in-interest,   predecessors,

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 representatives, trustees, executors, administrators, estates, heirs, beneficiaries, legatees,

 devisees, assigns and transferees, immediate and remote, and any other person or entity acting

 for or on behalf of, or claiming under, any of the foregoing (the “Settlement Class”); provided

 that the Settlement Class shall not include Defendants and their immediate family members, any

 entity in which any Defendant has a controlling interest, and any successors in interest thereto.

                5.      Settlement Hearing. A hearing shall be held on July 3, 2018 at 10:00 a.m.

 before the Honorable Robert E. Payne, Senior United States District Judge for the Eastern

 District of Virginia, in Courtroom 7400 of the Spottswood W. Robinson III and Robert R.

 Merhige, Jr., Federal Courthouse, 701 East Broad Street, Richmond, Virginia 23219 (the

 “Settlement Hearing”), to determine whether the Settlement on the terms and conditions

 provided for in the Stipulation is fair, reasonable and adequate to the Settlement Class and should

 be finally approved by the Court, and whether a Final Judgment substantially in the form

 attached as Exhibit D to the Stipulation should be entered.

        6.      Stay of Proceedings. Pending Final Approval, all proceedings in the Actions,

 except those related to the Settlement, are hereby stayed. Lead Plaintiffs and the Settlement

 Class Members shall not initiate, assert, commence, prosecute, assist, instigate, continue, or in

 any way participate in any other proceedings in any forum asserting any Released Claims against

 any Released Person, other than those that are incidental to the Settlement itself. The Parties

 shall cooperate to prevent, stay or seek dismissal of or oppose entry of any interim or final relief

 in favor of any Settlement Class Member in any other litigation against any of the Parties to this

 Stipulation which challenges the Settlement or otherwise involves a Released Claim. Pending

 Final Approval, Lead Plaintiffs and all members of the Settlement Class are barred and enjoined

 from instituting, prosecuting, participating in, continuing, maintaining or asserting any Released

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 Claims, or assisting any person or entity in instituting, prosecuting, participating in, continuing,

 maintaining or asserting any Released Claims, against any of the Released Persons, whether

 directly or indirectly, on their own behalf or on behalf of any class or other person, in any

 jurisdiction.

         7.      Appearance at Settlement Hearing and Objections to Settlement. Any Settlement

 Class Member may appear and show cause why the Settlement should or should not be

 approved, or why the Final Judgment should or should not be entered; provided, however, that

 no Settlement Class Member shall be heard or entitled to contest the approval of the terms and

 conditions of the Settlement or, if approved, the Final Judgment to be entered thereon, or

 Plaintiffs’ Counsel’s application for an award of attorneys’ fees and expenses, unless that

 Settlement Class Member has, by June 12, 2018, (a) served on the following counsel, (i) a

 written notice of objection, including a written notice of his, her or its intention to appear, if he,

 she or it intends to do so, (ii) proof of his, her or its membership in the Settlement Class, (iii) a

 written statement of the position he, she or it will assert, (iv) the reason for his, her or its

 position, and (v) copies of any papers, briefs or other matter he, she or it wishes the Court to

 consider:

  Co-Lead Counsel for Plaintiffs:                       James M. Wilson, Jr., Esq.
                                                        Faruqi & Faruqi, LLP
                                                        685 Third Avenue, 26th Floor
                                                        New York, NY 10017
                                                        Tel.: 212-983-9330
                                                        Fax: 212-983-9331
                                                        Email: jwilson@faruqilaw.com

                                                        Michael J. Palestina, Esq.
                                                        Kahn Swick & Foti, LLC
                                                        206 Covington Street
                                                        Madisonville, LA 70447
                                                        Tel.: 504-455-1400
                                                        Fax: 504-455-1498
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                                                      Email: Michael.Palestina@ksfcounsel.com

  Counsel for Genworth, Thomas J. McInerney,          Greg A. Danilow, Esq.
  James S. Riepe, William H. Bolinder, G. Kent        Evert J. Christensen, Jr., Esq.
  Conrad, Melina E. Higgins, David M. Moffett,        Weil, Gotshal & Manges LLP
  Thomas E. Moloney, James A. Parke, Debra            767 Fifth Avenue
  J. Perry, and Robert P. Restrepo Jr.:               New York, NY 10153
                                                      Tel.: 212-310-8000
                                                      Fax: 212-310-8007
                                                      Email: greg.danilow@weil.com
                                                      Email: evert.christensen@weil.com

                                                      Edward J. Fuhr, Esq.
                                                      George P. Sibley III, Esq.
                                                      Johnathon E. Schronce, Esq.
                                                      Hunton & Williams LLP
                                                      Riverfront Plaza, East Tower
                                                      951 East Byrd Street
                                                      Richmond, VA 23219-4074
                                                      Tel.: 804-788-8200
                                                      Fax: 804-788-8218
                                                      Email: efuhr@hunton.com
                                                      Email: gsibley@hunton.com
                                                      Email: jschronce@hunton.com

 and (b) filed said objections, papers and briefs with the Clerk of the United States District Court

 for the Eastern District of Virginia, Spottswood W. Robinson III and Robert R. Merhige, Jr.,

 Federal Courthouse, 701 East Broad Street, Richmond, Virginia 23219, on or before the same

 date. Any Settlement Class Member who does not make his, her or its objection in the manner

 provided shall be deemed to have waived such objection (including any right of appeal) and shall

 forever be barred and foreclosed from making any objection, including any objection to the

 fairness or adequacy of the Settlement as incorporated in the Stipulation, unless otherwise

 ordered by the Court. Plaintiffs’ Counsel and counsel for Defendants shall promptly furnish

 each other with copies of any and all objections or other responsive filings that come into their

 possession.



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        8.      Briefing. On or before June 1, 2018, Plaintiffs’ Counsel shall file with the Court a

 Motion for Final Approval of Class Action Settlement in support of the Court’s final approval of

 the Settlement and their application for an award of attorneys’ fees and expenses. The Parties

 shall file with the Court responses to any objections no later than June 22, 2018.

        9.      Termination of Settlement. If the Settlement does not become effective in

 accordance with the terms of the Stipulation for any reason, the Stipulation, any class

 certification and any actions taken or to be taken in connection therewith (including this Order

 and any Final Judgment) shall be vacated, terminated and shall become null and void and of no

 further force and effect in accordance with the Stipulation.

        10.     No Admissions by the Parties. The provisions contained in the Stipulation shall

 not be deemed or constitute a presumption, concession or an admission by Defendants of any

 fault, liability or wrongdoing as to any facts or claims that have been or might be alleged or

 asserted in the Actions, and shall not be interpreted, construed, deemed, invoked, offered, or

 received in evidence or otherwise used by any person against any Defendant in the Actions or in

 any other action or proceeding, whether civil, criminal or administrative, for any purpose other

 than as provided for expressly herein. Nor shall the provisions contained in this Stipulation be

 deemed a presumption, concession, or admission by Lead Plaintiffs concerning the merits, or

 lack thereof, of any facts or claims alleged or asserted in the Actions, or any other actions or

 proceedings, or that any of the Supplemental Disclosures are not material.

        11.     Further Notice. The Court may adjourn the Settlement Hearing without further

 notice to the Settlement Class. The Court may approve the Settlement, according to the terms

 and conditions of the Stipulation, as it may be modified by the parties thereto, without further

 notice to the Settlement Class. Further, the Court may render its Final Judgment dismissing the

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 Actions with prejudice and approving releases by Lead Plaintiffs and the Settlement Class of

 Released Claims against the Released Persons without further notice.



        SO ORDERED, this the __ day of April, 2018.




                                                    Robert E. Payne
                                                    Senior United States District Judge




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                  EXHIBIT C
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

 ALEXANDER RICE, Individually and On
 Behalf of All Others Similarly Situated,

                            Plaintiff,

                     v.                     Consol. Case No. 3:17-cv-00059-REP

 GENWORTH FINANCIAL
 INCORPORATED, THOMAS J.
 MCINERNEY, JAMES S. RIEPE, WILLIAM
 H. BOLINDER, G. KENT CONRAD,
 MELINA E. HIGGINS, DAVID M.
 MOFFETT, THOMAS E. MOLONEY,
 JAMES A. PARKE, DEBRA J. PERRY, and
 ROBERT P. RESTREPO JR.,

                            Defendants.


    NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF CLASS ACTION

 TO:   ANY AND ALL RECORD HOLDERS AND BENEFICIAL OWNERS OF
       COMMON STOCK OF GENWORTH FINANCIAL, INC. (“GENWORTH”) WHO
       HELD OR OWNED SUCH STOCK AT ANY TIME DURING THE PERIOD
       BEGINNING ON AND INCLUDING OCTOBER 23, 2016, THROUGH AND
       INCLUDING THE DATE OF CONSUMMATION OF THE MERGER (DEFINED
       BELOW), OR, IF THE MERGER IS NOT CONSUMMATED FOR ANY
       REASON, MARCH 7, 2017 (THE “CLASS PERIOD”), INCLUDING ANY AND
       ALL OF THEIR RESPECTIVE SUCCESSORS-IN-INTEREST, SUCCESSORS,
       PREDECESSORS-IN-INTEREST, PREDECESSORS, REPRESENTATIVES,
       TRUSTEES,   EXECUTORS,    ADMINISTRATORS,     ESTATES,  HEIRS,
       BENEFICIARIES, LEGATEES, DEVISEES, ASSIGNS AND TRANSFEREES,
       IMMEDIATE AND REMOTE, AND ANY OTHER PERSON OR ENTITY
       ACTING FOR OR ON BEHALF OF, OR CLAIMING UNDER, ANY OF THE
       FOREGOING, BUT NOT INCLUDING DEFENDANTS AND THEIR
       IMMEDIATE FAMILY MEMBERS, ANY ENTITY IN WHICH ANY
       DEFENDANT HAS A CONTROLLING INTEREST, AND ANY SUCCESSORS IN
       INTEREST THERETO (THE “SETTLEMENT CLASS”).

 THIS NOTICE WAS SENT TO YOU BY ORDER OF THE COURT. PLEASE READ THIS
 NOTICE CAREFULLY AND IN ITS ENTIRETY. THIS NOTICE RELATES TO A
 PROPOSED SETTLEMENT OF THIS CLASS ACTION AND, IF YOU ARE A
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 SETTLEMENT CLASS MEMBER, CONTAINS IMPORTANT INFORMATION AS TO
 YOUR RIGHTS CONCERNING THE SETTLEMENT DESCRIBED BELOW.

 THIS NOTICE IS NOT A LAWSUIT AGAINST YOU. YOU ARE NOT BEING SUED. YOU
 HAVE RECEIVED THIS NOTICE BECAUSE YOU MAY BE A MEMBER OF THE
 SETTLEMENT CLASS DESCRIBED HEREIN.

 IF YOU HELD SHARES OF GENWORTH STOCK FOR THE BENEFIT OF ANOTHER,
 PLEASE PROMPTLY SEND THIS NOTICE TO THE BENEFICIAL OWNER.

 I.     PURPOSE OF THIS NOTICE

         This Notice is given pursuant to the Order Approving the Notice of Pendency and
 Proposed Settlement of Class Action of the United States District Court for the Eastern District
 of Virginia (the “Court”) entered in the above-captioned consolidated action on April __, 2018.
 The purpose of this Notice is to inform you of the pendency and proposed settlement of this
 consolidated action (the “Settlement”) by means of a Stipulation of Settlement (the
 “Stipulation”) entered into by the Parties and filed with the Court, and to notify you of a hearing
 to be held on July 3, 2018 at 10:00 a.m. (the “Settlement Hearing”), before the Honorable Robert
 E. Payne, United States District Court Judge of the United States District Court for the Eastern
 District of Virginia, in Courtroom 7400 of the Spottswood W. Robinson III and Robert R.
 Merhige, Jr., Federal Courthouse, 701 East Broad Street, Richmond, Virginia 23219, to
 determine: (a) whether the Court should certify the Settlement Class (defined below) for
 purposes of the Settlement; (b) whether the proposed Settlement on the terms and conditions
 provided for in the Stipulation is fair, reasonable, and adequate; (c) whether the proposed
 Settlement should be finally approved by the Court; (d) whether the Final Judgment (defined
 below) provided for in the Stipulation should be entered, inter alia, dismissing the consolidated
 action with prejudice; (e) whether to award Plaintiffs’ Counsel (defined below) attorneys’ fees
 and expenses; and (f) such other matters as the Court may deem appropriate.

         The Court has determined that, for purposes of the Settlement only, this consolidated
 action shall be conditionally maintained as a non-opt-out class action pursuant to Rule 23 of the
 Federal Rules of Civil Procedure on behalf of the Settlement Class. At the Settlement Hearing,
 the Court will also consider whether the Settlement Class should be permanently certified as a
 non-opt-out settlement class pursuant to Rule 23 of the Federal Rules of Civil Procedure and
 whether Lead Plaintiffs and Plaintiffs’ Counsel have adequately represented the Settlement
 Class.

         This Notice describes the rights that you may have pursuant to the Settlement and what
 steps you may, but are not required to, take in relation to the Settlement.

        If the Court approves the Settlement, the Parties will ask the Court at the Settlement
 Hearing to enter a Final Judgment (defined below) dismissing this consolidated action with
 prejudice on the merits and releasing all Released Claims (defined below).

        The Court has reserved the right to adjourn the Settlement Hearing without further notice
 to the Settlement Class other than by announcement at the Settlement Hearing or any
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 adjournment thereof. The Court has further reserved the right to approve the Settlement at or
 after the Settlement Hearing with such modifications as may be consented to by the Parties and
 without further notice to the members of the Settlement Class.

 II.    HISTORY AND BACKGROUND OF THE SETTLEMENT

 THE FOLLOWING RECITATION DOES NOT CONSTITUTE FINDINGS OF THE COURT.
 IT IS BASED ON THE STATEMENTS OF THE PARTIES AND SHOULD NOT BE
 UNDERSTOOD AS AN EXPRESSION OF ANY OPINION OF THE COURT AS TO THE
 MERITS OF ANY OF THE CLAIMS OR DEFENSES RAISED BY ANY OF THE PARTIES.

         On October 23, 2016, Genworth Financial, Inc. (“Genworth” or the “Company”) and
 China Oceanwide Holdings Group Co., Ltd. (“China Oceanwide”) jointly announced that they
 had entered into a definitive Agreement and Plan of Merger (the “Merger Agreement”), pursuant
 to which Asia Pacific Global Capital Company, Ltd. (“Parent”), a limited liability company
 incorporated in the People’s Republic of China and affiliate of China Oceanwide, will acquire all
 of the issued and outstanding shares of Genworth common stock (the “Merger”) for $5.43 per
 share in cash (the “Merger Consideration”).

         In connection with the Merger Agreement, on December 21, 2016, Genworth filed a
 Schedule 14A Preliminary Proxy Statement (the “Preliminary Proxy Statement”) with the U.S.
 Securities and Exchange Commission (“SEC”), and on January 25, 2017, Genworth filed a
 Schedule 14A Definitive Proxy Statement (the “Proxy Statement”) with the SEC. In the Proxy
 Statement, Genworth’s board of directors (the “Board”) recommended that Genworth
 shareholders vote in favor of the Merger at a special shareholder meeting scheduled for March 7,
 2017.

          Following the announcement of the Merger and filing of the Preliminary Proxy
 Statement, Plaintiff Rice in the above-captioned action as well as plaintiffs in other actions
 (together, the “Actions”) filed suit naming as defendants Genworth and the individual members
 of the Board (collectively, “Defendants”), and alleging that the Defendants violated Sections
 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and the SEC’s
 rules and regulations promulgated under Section 14(a). The complaints allege that Defendants
 violated Section 14(a) by recommending the Merger with the Proxy Statement containing false
 and/or misleading information. The Actions were each commenced as putative class actions on
 behalf of a class of all of Genworth’s common shareholders other than Defendants and their
 affiliates.

        On February 2, 2017, Plaintiff Rice (joined by Plaintiff James) filed a Motion for
 Preliminary Injunction (the “Rice PI Motion”) in which Plaintiff Rice sought to enjoin the
 shareholder vote on the Merger unless and until certain supplemental disclosures were made to
 Genworth’s shareholders that corrected the alleged deficiencies identified in the Proxy
 Statement. On the same date, the Court held a conference call with Defendants’ counsel and
 counsel for Plaintiff Rice regarding the Rice PI Motion, and, on February 6, 2017, the Court
 scheduled a hearing on the Rice PI Motion for February 22, 2017.
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       On February 6, 2017, counsel for Plaintiffs Rice and James sent a demand letter to
 Defendants identifying certain misleading disclosures in the Proxy Statement that they sought to
 have Defendants correct.

         On February 10, 2017, Defendants filed their opposition to the Rice Pl Motion. On the
 same date, Plaintiff Rosenfeld Family Trust filed a motion for expedited proceedings and a
 preliminary injunction seeking to enjoin the March 7, 2017 Genworth stockholder vote in an
 action then pending in the United States District Court for the District of Delaware (and later
 transferred to the Court), Rosenfeld Family Trust v. Genworth Financial, Inc., No. 3:17-cv-
 00156-REP (the “Rosenfeld Trust PI Motion”). On February 13, 2017, the United States District
 Court for the District of Delaware scheduled an expedited hearing for the Rosenfeld Trust PI
 Motion for February 24, 2017, which the District Court vacated on February 14, 2017.
 Defendants moved to transfer the Rosenfeld Family Trust action to the Court, which motion was
 granted on February 22, 2017. After transfer, the Court scheduled an expedited hearing for the
 Rosenfeld Trust PI Motion for March 1, 2017.

        On February 14, 2017, the Court held a conference call with counsel for Defendants and
 counsel for Plaintiffs Rice, James, and Ratliff to discuss the Rice PI Motion, after which the
 Court referred the matter to Magistrate Judge David J. Novak for settlement discussions.
 Thereafter counsel contacted Magistrate Judge Novak and agreed to a schedule for settlement
 negotiations prior to the March 7, 2017 shareholder vote.

         On February 15, 2017, Plaintiff Rice published notice of the Lead Plaintiff deadline
 pursuant to the Private Securities Litigation Reform Act (“PSLRA”) via PR Newswire, which set
 a deadline for Genworth shareholders to move to be appointed lead plaintiff of the Actions.

         On February 16, 2017, Plaintiff Ratliff sent a demand letter to counsel for Defendants
 outlining supplemental disclosure that he contended was necessary to prevent the Proxy
 Statement from being materially misleading.

        On February 16, 2017, counsel for Defendants sent a letter to counsel for Rice, James,
 and Ratliff outlining what supplemental disclosure Genworth was prepared to make in order to
 resolve the Rice PI Motion.

        On February 17, 2017, Plaintiffs Rice and James filed an emergency motion to
 consolidate the three actions filed in the Court (the “Virginia Actions”) and to appoint Faruqi &
 Faruqi, LLP as interim class counsel, which motion, after briefing, was granted for purposes of
 arguing the Rice PI Motion.

         On February 21, 2017, following discussions and negotiations, the parties to the Virginia
 Actions reached an agreement in principle for Genworth to issue certain additional disclosures
 prior to the March 7, 2017 shareholder vote, which disclosures would moot the grounds for the
 Rice PI Motion.

         At the February 22, 2017 hearing, the parties informed the Court of the agreement in
 principle, Plaintiffs Rice and James withdrew the Rice PI Motion, and the Court entered an order
 consolidating the Virginia Actions under No. 3:17-cv-00059-REP, denying the Rice PI Motion
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 as moot, and directing the parties to submit a schedule for the appointment of lead plaintiff and
 lead counsel in accordance with the PSLRA (which schedule was filed with the Court on March
 6, 2017).

         On February 24, 2017, Genworth filed the supplemental disclosures negotiated with
 Plaintiffs James, Rice, and Ratliff with the SEC on Form 8-K and disseminated them to
 Genworth shareholders.

        On February 27, 2017, following discussions and negotiations, counsel for Defendants
 and counsel for plaintiff in the Rosenfeld Family Trust action informed the Court that the
 Rosenfeld Trust PI Motion would be mooted by proposed supplemental disclosures Genworth
 agreed to file with the SEC, which disclosures were filed on Form 8-K and disseminated to
 Genworth shareholders on February 28, 2017 (the disclosures issued on February 24 and 28,
 2017 are referred to collectively as the “Supplemental Disclosures”).

        On March 7, 2017, the Court consolidated two actions transferred to this Court from the
 United States District Court for the District of Delaware (the “Delaware Actions”) with the
 Virginia Actions under No. 3:17-CV-0059-REP.

         On March 7, 2017, the Genworth shareholders voted at the previously scheduled meeting
 in favor of the Merger.

         On April 17, 2017, Plaintiffs Rice and James moved for appointment as Lead Plaintiff as
 the James/Rice Investor Group. Thereafter, after extensive briefing, conferences with the Court
 (including on May 16, 2017), and oral argument (on July 5, 2017), followed by additional
 supplemental briefing, on August 25, 2017, the Court appointed Plaintiffs Rice and James as
 Lead Plaintiffs (“Lead Plaintiffs”) and appointed the law firms of Faruqi & Faruqi, LLP and
 Kahn Swick & Foti, LLC as Co-Lead Counsel and MeyerGoergen PC as Liaison Counsel
 (together “Plaintiffs’ Counsel”) of the consolidated Actions.

          After arm’s-length negotiations, the Parties entered into a Memorandum of
 Understanding (“MOU”), dated November 1, 2017, which reflected an agreement in principle to
 settle the Actions on the terms and subject to the conditions set forth therein, including certain
 discovery (“Confirmatory Discovery”), which included the production of documents and the
 taking of depositions, to confirm the fairness, adequacy and reasonableness of the terms of the
 settlement set forth in the MOU.

        During the months of November and December 2017, pursuant to the MOU, the Parties
 negotiated the terms of a protective order to govern the production of confidential information
 for Confirmatory Discovery purposes and engaged in Confirmatory Discovery, including
 depositions of two Genworth directors.

       During Confirmatory Discovery, a dispute arose regarding the discoverability of certain
 documents and redactions made thereto.

        On January 5, 2018, Plaintiffs’ Counsel informed the Court of the discovery dispute.
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        On March 16, 2018, following briefing and an in camera review of the documents in
 dispute by this Court, the Court entered an order resolving the discovery dispute and, on March
 19, 2018, Defendants produced certain additional documents.

        Upon reviewing the additional documents, Plaintiffs’ Counsel determined that
 Confirmatory Discovery had been completed and advised Defendants that they continued to
 believe that the terms of the Settlement were fair, reasonable and adequate.

        On March 21, 2018, the Court held a telephonic hearing with the Parties, at which the
 schedule for proceeding with the Settlement was agreed and was entered by the Court on March
 22, 2018.

         On April __, 2018, the Court entered an order providing for, among other things, the
 provisional certification of the Settlement Class; the preliminary approval of the Settlement; the
 issuance of this Notice to the Settlement Class; and an injunction against the commencement or
 prosecution of any action by any member of the Settlement Class asserting any of the claims
 subject to the Settlement.

 III.   THE PROPOSED SETTLEMENT

        In consideration for the full and final settlement and release of all Released Claims
 (defined below) and the dismissal with prejudice of the Actions, and the other consideration set
 forth in the Stipulation, Genworth agreed to provide, and did provide, the Supplemental
 Disclosures in two Current Reports on Form 8-Ks filed with the SEC on February 24, 2017 and
 February 28, 2017. Without admitting any wrongdoing, Defendants acknowledge that
 Genworth’s decision to make the Supplemental Disclosures was the result of the pendency of the
 Actions, Defendants’ desire to resolve the pending PI Motions and the Actions, and negotiations
 between counsel for Defendants and counsel for Plaintiffs. Lead Plaintiffs and Plaintiffs’
 Counsel believe that, with the dissemination of the Supplemental Disclosures, the grounds for
 seeking to enjoin the March 7, 2017 stockholder vote and for otherwise seeking relief in the
 Actions were mooted. Lead Plaintiffs and Plaintiffs’ Counsel further believe that the
 dissemination of the Supplemental Disclosures fully resolved all of their claims under Section
 14(a) of the Exchange Act that were or could have been asserted in the Actions.

         Lead Plaintiffs and Plaintiffs’ Counsel believe that the claims they have asserted in the
 Actions have legal merit, and that their claims were brought in good faith, and the entry by Lead
 Plaintiffs into the Stipulation is not an admission as to the lack of merit of any claims asserted in
 the Actions, but that they entered into the Stipulation and Settlement because they believe the
 Settlement provided substantial benefits to the shareholders of Genworth, including an
 opportunity to make a more fully informed decision with respect to the Merger, and is fair,
 reasonable, and adequate.

         Defendants have denied, and continue to deny, any wrongdoing or liability with respect
 to all claims asserted in the Actions, including that they have committed any violations of law,
 that they have acted improperly in any way, that they have any liability or owe any damages of
 any kind to Lead Plaintiffs or the Settlement Class, and that any additional disclosures (including
 the additional disclosures made in the Supplemental Disclosures) are required under any
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 applicable rule, regulation, statute, or law, but are entering into the Stipulation solely because
 they consider it desirable that the litigation be settled and dismissed with prejudice in order to,
 among other things: (i) eliminate the burden, inconvenience, expense, distraction and uncertainty
 of further litigation; and (ii) finally resolve and terminate the Released Claims that were or could
 have been asserted against Defendants in the Actions.

 IV.    THE RELEASES

        The Stipulation provides, among other things:

         (a) For the certification, pursuant to Rule 23 of the Federal Rules of Civil Procedure, of a
 non-opt-out class that includes any and all record holders and beneficial owners of common
 stock of Genworth who held or owned such stock at any time during the period beginning on and
 including October 23, 2016, through and including the date of consummation of the Merger or, if
 the Merger is not consummated for any reason, March 7, 2017 (the “Class Period”), including
 any and all of their respective successors-in-interest, successors, predecessors-in-interest,
 predecessors, representatives, trustees, executors, administrators, estates, heirs, beneficiaries,
 legatees, devisees, assigns and transferees, immediate and remote, and any other person or entity
 acting for or on behalf of, or claiming under, any of the foregoing (the “Settlement Class”);
 provided that the Settlement Class shall not include Defendants and their immediate family
 members, any entity in which any Defendant has a controlling interest, and any successors-in
 interest thereto; and provided further that certification of the Settlement Class is for settlement
 purposes only, is dependent on Final Approval (as defined in the Stipulation), and shall be null
 and void in the event that Final Approval (as defined in the Stipulation) is not obtained;

         (b) For the full and complete discharge, settlement, release, and dismissal with prejudice
 on the merits of the claims that were or could have been asserted under Section 14(a) of the
 Exchange Act by Plaintiffs in the Actions in their capacity as Genworth common stock
 shareholders against any of the Released Persons (defined below), in any court, tribunal, forum
 or proceeding based upon, arising out of, relating in any way to, or involving, directly or
 indirectly, the contents of the Proxy Statement (the “Released Claims”); provided, however, for
 the avoidance of doubt, that the Released Claims shall not include the right to enforce the
 Settlement or any claims or rights of any Defendant against its insurers or insurers’ successors or
 assignees; provided further, for the avoidance of doubt, that the Released Claims shall
 not include, and the Settlement shall not be construed to in any way settle, compromise, or
 otherwise affect, any derivative claims on behalf of and/or against Genworth, its current or
 former directors, or its current or former officers (specifically including, but not limited to, the
 derivative claims raised in In re Genworth Financial, Inc. Consolidated Derivative Litigation,
 C.A. No. 11901-VCS (Del. Ch.) and any other currently pending derivative suit on behalf of
 and/or against Genworth, its current or former directors, or its current or former officers), except
 derivative claims (if any) under Section 14(a) of the Exchange Act relating to the Proxy
 Statement (which, to the best of the Parties’ knowledge, information and belief, are not currently
 pending or asserted in any of the Actions or in any other action or proceeding);

         (c) That the release provided for in the Settlement shall include all Released Claims on
 behalf of Lead Plaintiffs and all Settlement Class Members, and that Lead Plaintiffs and all
 members of the Settlement Class shall be forever barred and enjoined from instituting,
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 prosecuting, participating in, continuing, maintaining or asserting any Released Claims, or
 assisting any person or entity in instituting, prosecuting, participating in, continuing, maintaining
 or asserting any Released Claims against any of the Released Persons, whether directly or
 indirectly, on their own behalf or on behalf of any class or other person, in any jurisdiction.

         (d) That Defendants release Lead Plaintiffs and Plaintiffs’ Counsel from any and all
 claims, complaints, petitions, or sanctions arising out of the investigation, commencement,
 prosecution, settlement, or resolution of the Actions, and shall be barred from asserting same;
 provided, however, that such releases will not include a release of the right to enforce the
 Stipulation or the Settlement or any claims or rights of any Defendant against its insurers or
 insurers’ successors or assignees;

         (e) Whether or not each or all of the following persons or entities were served with
 process or appeared in the Actions, that “Released Persons” means every entity or natural person
 named as a defendant in the complaints or amended complaint in any of the Actions, and each of
 their respective past, present, or future family members, spouses, heirs, trusts, trustees, executors,
 estates, administrators, beneficiaries, distributees, legatees, devisees, foundations, agents,
 employees, fiduciaries, partners, control persons, partnerships, general or limited partners or
 partnerships, joint ventures, member firms, limited liability companies, corporations, parents,
 subsidiaries, divisions, affiliates, associated entities, stockholders, principals, officers, managers,
 directors, managing directors, members, managing members, managing agents, predecessors,
 predecessors-in-interest, successors, successors-in-interest, assigns, financial or investment
 advisors, advisors, consultants, investment bankers, entities providing any fairness opinion,
 underwriters, brokers, dealers, lenders, commercial bankers, attorneys, personal or legal
 representatives, accountants, insurers, co-insurers, reinsurers, and associates, whether or not such
 persons and entities were named or appeared in the Actions.

         (f) The releases contemplated by the Stipulation extend to, and Lead Plaintiffs, on behalf
 of themselves and the Settlement Class Members, and Defendants will be deemed to relinquish,
 to the extent it is applicable, and to the fullest extent permitted by law, the provisions, rights, and
 benefits of §1542 of the California Civil Code which provides:

        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
        CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR
        AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
        BY HIM MUST HAVE MATERIALLY AFFECTED HIS SETTLEMENT
        WITH THE DEBTOR.

         (g) Lead Plaintiffs, on behalf of themselves and the Settlement Class Members, and
 Defendants will be deemed to relinquish, to the extent they are applicable, and to the fullest
 extent permitted by law, the provisions, rights, and benefits of any law of any state or territory of
 the United States, federal law, or principle of common law, which is similar, comparable, or
 equivalent to §1542 of the California Civil Code. Lead Plaintiffs, on behalf of themselves and
 the Settlement Class Members, and Defendants acknowledge that they may discover facts after
 completing Confirmatory Discovery and executing the Stipulation in addition to or different
 from those now known or believed to be true with respect to the settled claims, but that it is the
 intention of the Parties to hereby fully, finally, and forever settle and release any and all Released
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 Claims. Lead Plaintiffs, on behalf of themselves and the Settlement Class Members, and
 Defendants acknowledge, and shall be deemed to have acknowledged, that the inclusion of this
 paragraph was separately bargained for, is an integral element of the Settlement and was relied
 upon by each and all of the Parties in entering into this Stipulation and Settlement.

 V.     ORDER AND FINAL JUDGMENT (“FINAL JUDGMENT”)

         At the Settlement Hearing, the Parties will jointly ask the Court to enter an Order and
 Final Judgment, which will, among other things:

        (a)     approve the Settlement pursuant to Fed. R. Civ. P. 23;

        (b)     authorize and direct performance of the Settlement in accordance with its terms
 and conditions;

        (c)     permanently certify the Settlement Class for settlement purposes only, pursuant to
 Fed. R. Civ. P. 23;

         (d)    grant the releases described more fully above in accordance with the terms of the
 Stipulation;

        (e)    permanently bar and enjoin Lead Plaintiffs and all members of the Settlement
 Class from instituting, prosecuting, participating in, continuing, maintaining or asserting any
 Released Claims;

        (f)     dismiss the Actions with prejudice on the merits;

        (g)     award Plaintiffs’ Counsel’s attorneys’ fees and expenses, if any; and

         (h)    reserve jurisdiction over all matters relating to the administration and effectuation
 of the Settlement.

 VI.    PLAINTIFFS’ COUNSEL’S APPLICATION FOR ATTORNEYS’ FEES AND
        EXPENSES

          Plaintiffs’ Counsel have neither received any payment for their services in prosecuting
 the Actions on behalf of Lead Plaintiffs and the Settlement Class, nor been paid for their
 litigation expenses incurred to date. Lead Plaintiffs reserve the right to submit an application to
 the Court concurrent with their Motion for Final Approval seeking reasonable attorneys’ fees,
 costs, and expenses not to exceed $1,075,000.00 in the aggregate, and Defendants reserve the
 right to oppose any application by Plaintiffs’ Counsel for an award of attorneys’ fees, costs, and
 expenses, including any entitlement to an award of any attorneys’ fees, costs, or expenses as well
 as the amount of any such award, and to make any and all arguments against entitlement to or the
 amount of the attorneys’ fees, costs, and expenses as Defendants deem appropriate. Genworth or
 its successor(s) will pay, or cause to be paid, to Plaintiffs’ Counsel on behalf of all Defendants,
 the amount, if any, of the attorneys’ fees, costs and expenses approved or awarded by the Court.
 Neither you nor any other member of the Settlement Class is personally liable for any award of
 attorneys’ fees, costs, and expenses. Any such award of attorneys’ fees, costs, and expenses
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 approved by the Court will be the only payment to Plaintiffs’ Counsel for their efforts in
 achieving this Settlement and for their risk in undertaking this representation on a wholly
 contingent basis.

 VII. THE SETTLEMENT HEARING
        The Settlement Hearing will be held on July 3, 2018 at 10:00 a.m. before the Honorable
 Robert E. Payne, Senior United States District Judge of the United States District Court for the
 Eastern District of Virginia, in Courtroom 7400 of the Spottswood W. Robinson III and Robert
 R. Merhige, Jr., Federal Courthouse, 701 East Broad Street, Richmond, Virginia 23219.

          Any Settlement Class Member may appear and show cause why the Settlement should or
 should not be approved, or why the Final Judgment should or should not be entered; provided,
 however, that no Settlement Class Member shall be heard or entitled to contest the approval of
 the terms and conditions of the proposed Settlement or, if approved, the Final Judgment to be
 entered thereon, or Plaintiffs’ Counsel’s application for an award of attorneys’ fees and
 expenses, unless that Settlement Class Member has, on or before June 12, 2018, (a) served on the
 following counsel (i) a written notice of objection, including a written notice of his, her or its
 intention to appear, if he, she or it intends to do so, (ii) proof of his, her or its membership in the
 Settlement Class, (iii) a written statement of the position he, she or it will assert, (iv) the reason
 for his, her or its position, and (v) copies of any papers, briefs or other matter he, she or it wishes
 the Court to consider:

  Counsel for Plaintiffs:                               James M. Wilson, Jr., Esq.
                                                        Faruqi & Faruqi, LLP
                                                        685 Third Avenue, 26th Floor
                                                        New York, NY 10017
                                                        Tel.: 212-983-9330
                                                        Fax: 212-983-9331
                                                        Email: jwilson@faruqilaw.com

                                                        Michael J. Palestina, Esq.
                                                        Kahn Swick & Foti, LLC
                                                        206 Covington Street
                                                        Madisonville, LA 70447
                                                        Tel.: 504-455-1400
                                                        Fax: 504-455-1498
                                                        Email: Michael.Palestina@ksfcounsel.com

  Counsel for Genworth, Thomas J. McInerney,            Greg A. Danilow, Esq.
  James S. Riepe, William H. Bolinder, G. Kent          Evert J. Christensen, Jr., Esq.
  Conrad, Melina E. Higgins, David M. Moffett,          Weil, Gotshal & Manges LLP
  Thomas E. Moloney, James A. Parke, Debra              767 Fifth Avenue
  J. Perry, and Robert P. Restrepo Jr.:                 New York, NY 10153
                                                        Tel.: 212-310-8000
                                                        Fax: 212-310-8007
                                                        Email: greg.danilow@weil.com
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                                                      Email: evert.christensen@weil.com

                                                      Edward J. Fuhr, Esq.
                                                      George P. Sibley III, Esq.
                                                      Johnathon E. Schronce, Esq.
                                                      Hunton & Williams LLP
                                                      Riverfront Plaza, East Tower
                                                      951 East Byrd Street
                                                      Richmond, VA 23219-4074
                                                      Tel.: 804-788-8200
                                                      Fax: 804-788-8218
                                                      Email: efuhr@hunton.com
                                                      Email: gsibley@hunton.com
                                                      Email: jschronce@hunton.com

 and (b) filed said objections, papers and briefs with the Clerk of the United States District Court
 for the Eastern District of Virginia, Spottswood W. Robinson III and Robert R. Merhige, Jr.,
 Federal Courthouse, 701 East Broad Street, Richmond, Virginia 23219, on or before the same
 date.

         Any Settlement Class Member who does not make his, her, or its objection in the manner
 provided shall be deemed to have waived such objection (including any right of appeal) and shall
 forever be barred and foreclosed from making any objection, including any objection to the
 fairness or adequacy of the Settlement as incorporated in the Stipulation, unless otherwise
 ordered by the Court.

        The Court has reserved the right to adjourn the date of the Settlement Hearing or modify
 any other dates set forth herein without further notice to the Settlement Class Members. The
 Court may approve the Settlement, with such modifications as may be agreed to by the Parties, if
 appropriate, without further notice to the Settlement Class Members.

 VIII. NOTICE TO PERSONS OR ENTITIES THAT HELD OWNERSHIP ON BEHALF
        OF OTHERS

        Brokerage firms, banks and/or other persons or entities who held shares of the common
 stock of Genworth included in the Settlement Class for the benefit of others are requested to
 promptly send this Notice to all of their respective beneficial owners. If additional copies of the
 Notice are needed for forwarding to such beneficial owners, any requests for such copies may be
 made to:

                                       [TO BE INSERTED]

 IX.    EXAMINATION OF PAPERS

         This notice is not all-inclusive. It contains only a summary of the terms of the proposed
 Settlement. For a more detailed statement of the matters involved in these proceedings, you may
 refer to the Stipulation and the other papers on file with the Court.
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        If you have any questions, please make all inquiries to Plaintiffs’ Counsel identified
 above. PLEASE DO NOT CONTACT THE COURT DIRECTLY.



 Dated: April __, 2018


         DISTRIBUTED BY ORDER OF THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
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                  EXHIBIT D
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION


 ALEXANDER RICE, Individually and On
 Behalf of All Others Similarly Situated,

                               Plaintiff,

                       v.                          Consol. Case No. 3:17-CV-00059

 GENWORTH FINANCIAL
 INCORPORATED, THOMAS J.
 MCINERNEY, JAMES S. RIEPE, WILLIAM
 H. BOLINDER, G. KENT CONRAD,
 MELINA E. HIGGINS, DAVID M.
 MOFFETT, THOMAS E. MOLONEY,
 JAMES A. PARKE, DEBRA J. PERRY, and
 ROBERT P. RESTREPO JR.,

                               Defendants.


                               ORDER AND FINAL JUDGMENT

        This matter having come before the Court pursuant to the Court’s Order dated March 22,

 2018 (the “Scheduling Order”) for final approval of the terms of a Stipulation of Settlement

 (“Stipulation”) dated April 4, 2018, made and entered into by and among (i) Lead Plaintiffs

 Alexander Rice and Brian James and (ii) Defendants Genworth Financial, Inc. (“Genworth”),

 Thomas J. McInerney, James S. Riepe, William H. Bolinder, G. Kent Conrad, Melina E.

 Higgins, David M. Moffett, Thomas E. Moloney, James A. Parke, Debra J. Perry, and Robert P.

 Restrepo, Jr. (collectively, “Defendants,” and together with Plaintiffs, the “Parties”), who

 constitute all of the parties in the above-captioned consolidated action; and the Court having held

 a hearing, on July 3, 2018 at 10:00 a.m. (the “Settlement Hearing”) to consider the proposed

 settlement as embodied in the Stipulation (the “Settlement”); and the Court having determined
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 that due, adequate and sufficient notice has been given in accordance with the Order Approving

 the Notice of Pendency and Proposed Settlement of Class Action (the “Notice Order”); and all

 parties duly appearing having been heard; and an opportunity to be heard having been given to

 all other persons desiring to be heard as provided in the Notice of Pendency and Proposed

 Settlement of Class Action (the “Notice”); and the entire matter of the Settlement having been

 heard and considered by the Court;

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

        1.     All capitalized terms not defined in this Order and Final Judgment shall have the

 meanings ascribed to them in the Stipulation.

        2.     This Court has jurisdiction over the subject matter of the Actions and, for the

 purposes of settlement of the Actions only, over all parties to the Actions, including but not

 limited to, Lead Plaintiffs, all members of the Settlement Class (as defined below), and the

 Defendants.

        3.     The Court finds, for purposes of settlement only, that each of the requirements of

 Fed. R. Civ. P. 23 has been satisfied, in that (a) the members of the Settlement Class are so

 numerous that separate joinder of each member is impracticable, (b) Lead Plaintiffs’ claims or

 defenses raise questions of law or fact common to the questions of law or fact raised by the

 claims or defenses of each member of the Settlement Class, (c) Lead Plaintiffs’ claims or

 defenses are typical of the claims or defenses of each member of the Settlement Class, (d) Lead

 Plaintiffs can fairly and adequately protect and represent the interests of each member of the

 Settlement Class, (e) the prosecution of separate claims or defenses by or against individual

 members of the Settlement Class would create a risk of either: (i) inconsistent or varying

 adjudications concerning individual members of the Settlement Class, which would establish
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 incompatible standards of conduct for Defendants; or (ii) adjudications concerning individual

 members of the Settlement Class, which would, as a practical matter, be dispositive of the

 interests of other members of the Settlement Class who are not parties to the adjudications, or

 substantially impair or impede the ability of other members of the Settlement Class who are not

 parties to the adjudications to protect their interests; and (f) Lead Plaintiffs claim that Defendants

 have acted or refused to act on grounds generally applicable to all the members of the Settlement

 Class, thereby making final injunctive relief or declaratory relief concerning the class as a whole

 appropriate.

        4.      Pursuant to Fed. R. Civ. P. 23, the Court hereby certifies, for settlement purposes

 only, a non-opt-out class consisting of any and all record holders and beneficial owners of

 common stock of Genworth who held or owned such stock at any time during the period

 beginning on and including October 23, 2016, through and including the date of consummation

 of the Merger or, if the Merger is not consummated for any reason, March 7, 2017 (the “Class

 Period”), including any and all of their respective successors-in-interest, successors,

 predecessors-in-interest, predecessors, representatives, trustees, executors, administrators,

 estates, heirs, beneficiaries, legatees, devisees, assigns and transferees, immediate and remote,

 and any other person or entity acting for or on behalf of, or claiming under, any of the foregoing

 (the “Settlement Class”); provided that the Settlement Class shall not include Defendants and

 their immediate family members, any entity in which any Defendant has a controlling interest,

 and any successors in interest thereto.

        5.      The Notice was sent to the Settlement Class Members pursuant to and in the

 manner directed by the Notice Order. All Parties, the Settlement Class Members, and persons in

 interest have been afforded a full opportunity to be heard. The form and manner of the Notice is
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 hereby determined to have been the best notice practicable under the circumstances and is due

 and sufficient notice to the members of the Settlement Class pursuant to Fed. R. Civ. P. 23, due

 process and any other applicable law. All Settlement Class Members are bound by this Order

 and Final Judgment.

        6.      The Court finds that the Settlement set forth in the Stipulation is fair, reasonable

 and adequate and in the best interests of the Settlement Class and should be approved.

 Accordingly, the Stipulation and the terms of the Settlement as described in the Stipulation are

 hereby approved in their entirety and incorporated into this Order and Final Judgment. The

 parties to the Settlement are hereby directed to consummate the Settlement in accordance with

 the terms and provisions of the Stipulation. Lead Plaintiffs, all Settlement Class Members, and

 Defendants are hereby bound by the terms of the Settlement as set forth in the Stipulation.

        7.      Upon the Effective Date of the Settlement (as defined in the Stipulation), Lead

 Plaintiffs and the Settlement Class shall be deemed to have, and by operation of this Order and

 Final Judgment shall have, fully and completely discharged, settled, released, and dismissed with

 prejudice on the merits the claims that were or could have been asserted under Section 14(a) of

 the Exchange Act by Plaintiffs in the Actions in their capacity as Genworth common stock

 shareholders against any of the Released Persons (defined below), in any court, tribunal, forum

 or proceeding based upon, arising out of, relating in any way to, or involving, directly or

 indirectly, the contents of the Proxy Statement (as defined in the Stipulation) (the “Released

 Claims”); provided, however, for the avoidance of doubt, that the Released Claims shall not

 include the right to enforce the Settlement or any claims or rights of any Defendant against its

 insurers or insurers’ successors or assignees; provided further, for the avoidance of doubt, that

 the Released Claims shall not include, and the Settlement shall not be construed to in any way
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 settle, compromise, or otherwise affect, any derivative claims on behalf of and/or against

 Genworth, its current or former directors, or its current or former officers (specifically including,

 but not limited to, the derivative claims raised in In re Genworth Financial, Inc. Consolidated

 Derivative   Litigation,    C.A.   No.   11901-VCS      (Del.   Ch.)    and    any      other currently

 pending derivative suit on behalf of and/or against Genworth, its current or former directors, or

 its current or former officers), except derivative claims (if any) under Section 14(a) of the

 Exchange Act relating to the Proxy Statement (which, to the best of the Parties’ knowledge,

 information and belief, are not currently pending or asserted in any of the Actions or in any other

 action or proceeding);

        8.      “Released Persons” means every entity or natural person named as a defendant in

 the complaint or amended complaint in any of the Actions, and each of their respective past,

 present, or future family members, spouses, heirs, trusts, trustees, executors, estates,

 administrators, beneficiaries, distributees, legatees, devisees, foundations, agents, employees,

 fiduciaries, partners, control persons, partnerships, general or limited partners or partnerships,

 joint ventures, member firms, limited liability companies, corporations, parents, subsidiaries,

 divisions, affiliates, associated entities, stockholders, principals, officers, managers, directors,

 managing     directors,    members,   managing     members,     managing      agents,    predecessors,

 predecessors-in-interest, successors, successors-in-interest, assigns, financial or investment

 advisors, advisors, consultants, investment bankers, entities providing any fairness opinion,

 underwriters, brokers, dealers, lenders, commercial bankers, attorneys, personal or legal

 representatives, accountants, insurers, co-insurers, reinsurers, and associates, whether or not such

 persons and entities were named or appeared in the Actions.
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        9.      Lead Plaintiffs and all members of the Settlement Class shall be forever barred

 and enjoined from instituting, prosecuting, participating in, continuing, maintaining or asserting

 any Released Claims, or assisting any person or entity in instituting, prosecuting, participating in,

 continuing, maintaining or asserting any Released Claims, against any of the Released Persons,

 whether directly or indirectly, on their own behalf or on behalf of any class or other person, in

 any jurisdiction.

        10.     Upon the Effective Date of the Settlement (as defined in the Stipulation),

 Defendants shall be deemed to have, and by operation of this Order and Final Judgment shall

 have, released Lead Plaintiffs and Plaintiffs’ Counsel from any and all claims, complaints,

 petitions, or sanctions arising out of the investigation, commencement, prosecution, settlement,

 or resolution of the Actions; provided, however, that Defendants shall retain the right to enforce

 the terms of this Stipulation and the Settlement and any claims or rights of any Defendant against

 its insurers or insurers’ successors or assignees.

        11.     The releases contemplated in Paragraphs 35 and 36 of the Stipulation and this

 Order and Final Judgment extend to, and Plaintiffs, on behalf of themselves and the Settlement

 Class Members, and Defendants will be deemed to relinquish, to the extent it is applicable, and

 to the fullest extent permitted by law, the provisions, rights, and benefits of §1542 of the

 California Civil Code, which provides:

                A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                WHICH THE CREDITOR DOES NOT KNOW OR
                SUSPECT TO EXIST IN HIS FAVOR AT THE TIME OF
                EXECUTING THE RELEASE, WHICH IF KNOWN BY
                HIM MUST HAVE MATERIALLY AFFECTED HIS
                SETTLEMENT WITH THE DEBTOR.

        12.     In addition, Lead Plaintiffs, on behalf of themselves and the Settlement Class

 Members, and Defendants will be deemed to relinquish, to the extent they are applicable, and to
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 the fullest extent permitted by law, the provisions, rights, and benefits of any law of any state or

 territory of the United States, federal law, or principle of common law, which is similar,

 comparable, or equivalent to §1542 of the California Civil Code. Lead Plaintiffs, on behalf of

 themselves and the Settlement Class Members, and Defendants acknowledge that they may

 discover facts after completing Confirmatory Discovery and executing the Stipulation in addition

 to or different from those now known or believed to be true with respect to the settled claims, but

 that it is the intention of the Parties to hereby fully, finally, and forever settle and release any and

 all Released Claims. Lead Plaintiffs, on behalf of themselves and the Settlement Class Members,

 and Defendants acknowledge, and shall be deemed to have acknowledged, that the inclusion of

 this paragraph was separately bargained for, is an integral element of the Settlement and was

 relied upon by each and all of the Parties in entering into this Stipulation and Settlement.

         13.     The Action is hereby dismissed as against all Defendants on the merits and with

 prejudice and without costs to any party as against any other party, except as otherwise agreed to

 in the Stipulation and as set forth herein.

         14.     The Court, having considered the nature of the Action, the time and effort

 expended by Plaintiffs’ Counsel, and the results obtained on behalf of the Settlement Class,

 hereby orders that Genworth (or its successor(s), assign(s), and/or their insurer(s), and/or the

 insurer(s) of the Individual Defendants) shall pay, on behalf of all Defendants, the sum of

 $______________ in attorneys’ fees, costs and expenses to Plaintiffs’ Counsel in accordance

 with, and subject to, the terms and conditions of the Stipulation.

         15.     The provisions contained in the Stipulation shall not be deemed or constitute a

 presumption, concession or an admission by Defendants of any fault, liability or wrongdoing as

 to any facts or claims that have been or might be alleged or asserted in the Actions, and shall not
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 be interpreted, construed, deemed, invoked, offered, or received in evidence or otherwise used by

 any person against any Defendant in the Actions or in any other action or proceeding, whether

 civil, criminal or administrative, for any purpose other than as provided for expressly in the

 Stipulation. Nor shall the provisions contained in the Stipulation be deemed a presumption,

 concession, or admission by Lead Plaintiffs concerning the merits, or lack thereof, of any facts or

 claims alleged or asserted in the Actions, or any other actions or proceedings, or that any of the

 Supplemental Disclosures are not material.

        16.     The Court approves the Settlement and retains jurisdiction, without affecting the

 finality of this Order and Final Judgment, over the implementation and enforcement of the

 Settlement and this Order and Final Judgment.

        17.     If the Settlement does not become effective in accordance with the terms of the

 Stipulation for any reason, the Stipulation, any class certification and any actions taken or to be

 taken in connection therewith (including this Order and Final Judgment) shall be vacated,

 terminated and shall become null and void and of no further force and effect in accordance with

 the Stipulation.

        18.     There being no just reason for delay, the Court hereby directs that this Order and

 Final Judgment be entered by the Clerk of the Court.

        So ordered, this the __ day of July, 2018.




                                                      Robert E. Payne
                                                      Senior United States District Judge
